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 1                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
 2

 3       United States of America,       ) Criminal Action
                                         ) No. 19-CR-125
 4                           Plaintiff, )
                                         ) JURY TRIAL
 5       vs.                             ) DAY 6 - MORNING
                                         )
 6       Gregory B. Craig,               ) Washington, DC
                                         ) August 19, 2019
 7                           Defendant. ) Time: 9:30 a.m.
     ___________________________________________________________
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                  TRANSCRIPT OF JURY TRIAL - MORNING
 9                            HELD BEFORE
                THE HONORABLE JUDGE AMY BERMAN JACKSON
10                    UNITED STATES DISTRICT JUDGE
     ____________________________________________________________
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 1                 THE COURTROOM DEPUTY:      Good morning, Your Honor.

 2                 THE COURT:    Good morning.

 3                 THE COURTROOM DEPUTY:      Your Honor, this morning we

 4      have Case Number 19-125, the United States of America v.

 5      Gregory B. Craig.     Mr. Craig is present in the courtroom.

 6                 Will counsel for the parties please approach the

 7      lectern and identify yourself and your colleagues for the

 8      record.

 9                 MR. CAMPOAMOR-SANCHEZ:       Good morning, Your Honor.

10                 Molly Gaston, Jason McCullough, and

11      Fernando Campoamor for the United States.         And also,

12      Amanda Rohde with us.

13                 MR. MURPHY:     Good morning, Your Honor.

14                 William Murphy for the defendant, Mr. Craig, and with

15      me is Mr. Taylor, Mr. Abelson, and Ms. Junghans, and Mr.

16      Marcus.

17                 THE COURT:    All right.     I have a few preliminary

18      matters of my own before we start.        But, does the government or

19      the defense have anything they want to raise before we bring

20      the jury in?

21                 MR. CAMPOAMOR-SANCHEZ:       So, Your Honor, very briefly,

22      we have two witnesses that have difficult schedules.            One

23      witness, who is Mr. Hawker, has been here for a week.           He's

24      coming from the United Kingdom, and he has some pressing

25      matters to attend to.
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 1                 And then we have Mr. Kedem, who has, I believe, a

 2      second vacation that starts tomorrow.        We're trying to

 3      accommodate both.     So what we told the defense last night was,

 4      look, we're happy to start with Mr. Kedem because we expect our

 5      direct to be short, and then get to Mr. Hawker and, hopefully,

 6      finish him today.

 7                 But our only condition was that they would be limited

 8      to what is brought on in our direct examination.          We do not

 9      want to turn this into another Mr. Haskell examination; that

10      will take all day.     And I'm not sure that we have agreement yet

11      from the defense as to that.

12                 THE COURT:    All right.     Well, I guess the only

13      question is, is this a witness that the defense is seeking to

14      call as a witness in their own case, out of order, as they did

15      with Mr. Haskell?

16                 MR. MURPHY:     Your Honor, I don't think I have more

17      than an hour and a half with Mr. Kedem, under any

18      circumstances, whether within the scope or outside the scope.

19      He is a critical witness to various aspects of this matter.

20                 With respect to Hawker, Mr. Hawker, we have,

21      probably, substantially more cross-examination than Mr. Kedem.

22      And, so, you know, I'll abide by whatever ruling the Court

23      makes with respect to what I can do.        But, it would not be

24      fair, I think, to Mr. Kedem, who has a vacation that everybody

25      has known about for a couple weeks, since his lawyer notified
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 1      us about that fact, to have him come back tomorrow, which I

 2      don't understand that he would --

 3                 THE COURT:    I think they're just talking about the

 4      order in which they call the witnesses.         So I think they should

 5      call Mr. Kedem first.      But, I asked you, I thought, a

 6      straight-up question:      Are you planning to ask me, at the close

 7      of the government's testimony, assuming that it is focused, and

 8      more focused than everything you want to cover, to call him as

 9      your own witness, out of order?

10                 MR. MURPHY:     I would ask to do that.

11                 THE COURT:    All right.     Well, if you're going to do

12      that, then we need to make sure we have time to do that.

13                 Mr. Campoamor-Sanchez?

14                 MR. MURPHY:     I could do that, Your Honor, when he

15      comes back from vacation, which I understand is August; the

16      28th, I think.

17                 MR. CAMPOAMOR-SANCHEZ:       I believe that's right.     If

18      they want to present him on August 28th, that's okay.           We can

19      get just the government's done and finished, and then we can

20      still get Hawker and try to finish him.         What we object to is

21      them trying to put in their case now, today, as they did with

22      Mr. Haskell.

23                 THE COURT:    All right.     So, we anticipate that we're

24      still going to be in trial by August 28th, at that -- I mean,

25      the government has 14 witnesses.       Even assuming they are
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 1      successful in getting them all on this week, the defense is

 2      going to have to put on its case.

 3                  So, if you're satisfied with calling him on the 28th,

 4      then we'll get him in and out and out of -- we'll do the

 5      government's case, you'll do whatever cross is appropriate.             It

 6      may satisfy your needs; it may not.        And then we'll go on to

 7      Mr. Hawker.

 8                  MR. MURPHY:    Yes, Your Honor.     It would be my hope

 9      that we could do Mr. Kedem sufficiently today that we don't

10      need to call him back.      But I don't know to what extent the

11      government is going to -- I don't know what their direct

12      testimony with Mr. Kedem is going to be.         I don't know what the

13      scope of direct is going to be.        And I do think he -- you know,

14      he's somebody who was really instrumental in writing this

15      report.   He was at a critical event in the Ukraine that

16      occurred.   So...

17                  THE COURT:    I'm not going to stop you asking him

18      anything you want to ask him as part of your case.              But, I do

19      think that we are going to stick by the general rules that the

20      cross is bounded by the scope of the direct, then everybody

21      knows what the rules are.      And if you need to call him, you'll

22      call him; and it sounds like he'll be back, and you'll be able

23      to do that.

24                  MR. MURPHY:    Okay.

25                  THE COURT:    All right.    Thank you.
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 1                 The government filed a motion to introduce certain

 2      out-of-court statements.      It was Docket 96.     It was a carryover

 3      from the pretrial conference, and there were some exhibits that

 4      I had reserved on.     I realized after I prepared a ruling on all

 5      the documents related in Docket 96, that there are still some

 6      other documents for which I reserved ruling, and I'm not

 7      prepared to rule on all of them this minute.

 8                 But I can say the following:        I reviewed the cases

 9      set forth in the memorandum, and I reviewed the government's

10      opposition, Docket 110, as well.       All of the cases that both

11      sides cited emphasize that the admission of out-of-court

12      statements is a matter that is well within the trial court's

13      discretion.

14                 There's also a strain that runs through all the

15      cases, that the exhibits must be not only either not hearsay or

16      covered by hearsay exception, but they have to be relevant.

17                 And this is the point of the government's opposition

18      as well:   Their point is, I think, that documents are not

19      admissible under the exception to the hearsay rule for

20      statements of someone's "then existing" state of mind, if the

21      state of mind at the time the statement was made is an issue --

22      in issue in the case.

23                 The government pointed me to the United States v.

24      Detrich, D-E-T-R-I-C-H, 865 F.2d 17, out of the Second Circuit.

25      And that case included an important reminder that the problem
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 1      with the admission of out-of-court statements and the purpose

 2      behind the hearsay rule in the first place is that those

 3      statements don't necessarily come with guarantees of

 4      trustworthiness, and, most important, they're not subject to

 5      cross-examination.

 6                  So the jury has no opportunity to consider the

 7      demeanor and credibility of the declarant when it makes its own

 8      determination about how trustworthy or not the statement is.

 9      Therefore, the application of the rule is appropriate if the

10      statements are being admitted for the truth of the matter

11      asserted.

12                  One area where I thought the government memo was

13      incomplete is, it argued when the state of mind exception, Rule

14      803(3), is inapplicable, but you don't get to the state of mind

15      exception if the statement is not being admitted for the truth

16      of the matter asserted, and is not hearsay under Rule 801(d).

17                  So, I've looked at all the statements, first of all,

18      in terms of whether they are hearsay at all, and then whether

19      they are admissible under any exception.         The cases certainly

20      do indicate that in some circumstances, out-of-court statements

21      made to or by defendants may be admissible as bearing on their

22      state of mind, even if they don't testify.

23                  But, there is no case that even begins to lay down a

24      blanket per se rule that they must be admitted, as counsel

25      seemed to suggest at the pretrial conference.          When the
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 1      statements are made, by whom, and whether they actually bear

 2      upon the issue for which they're being proffered is subject to

 3      an individual case-by-case analysis.

 4                 The defendant cited the Kokenis, K-O-K-E-N-I-S case.

 5      In that case, a trial court, in a tax case, excluded expert

 6      testimony about a theory of how one might recognize expenses

 7      for tax purposes because the defendant hadn't put on any

 8      evidence that he relied on that theory.         And the Court of

 9      Appeals specifically held that excluding the evidence, in light

10      of his failure to testify about that, was not punishing him for

11      exercising his Fifth Amendment rights.

12                 It goes more to the grounds upon which I excluded the

13      expert in this case than the hearsay issue.         But, the case does

14      go on to discuss whether the trial court had erred in refusing

15      to give a good faith instruction.        And at that point, the Court

16      simply noted that out-of-court statements by a defendant could

17      be a source of evidence of good faith.        I'm not quibbling with

18      that.

19                 The defense also cited McCorkle, which doesn't really

20      bear on the issues here.      In that case, the government

21      introduced statements made by the defendant to IRS agents in a

22      willful failure to file case.       A defendant sought to introduce

23      other statements made during the same interview, and the Court

24      ruled, essentially on completeness grounds, that once the

25      government put the interview into evidence, it couldn't very
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 1      well object to the rest of it coming in.

 2                  So, based on all of the authorities, what I need to

 3      do is look at each statement individually, and figure out what

 4      issues in this case are the statements supposed to eliminate.

 5      The statements had been proffered as relevant to the state --

 6      defendant's state of mind when he communicated with the FARA

 7      Unit.   And, yes, his state of mind, at that point, is an issue,

 8      because any false statement has to be knowing and willful;

 9      that's an element of the government's case.

10                  And defendant also says they're relevant to his state

11      of mind when he was communicating with the journalist, because

12      there is a question about whether he characterized the purpose

13      of those meetings accurately.       That's an issue, to some extent.

14      But the clear focus of the indictment is whether he

15      characterized the timing of those communications accurately,

16      and the hearsay statements don't really go to that.

17                  But, with all of that as background, I've looked at

18      each one.    Defense Exhibit 2 was described in the memorandum as

19      an email relaying statements to and from Mr. Craig at the

20      outset of the project, and is -- now I'm quoting from the

21      defendant's memorandum -- it said, "that show his expectations

22      regarding whether the Skadden Report would be released.          As

23      relayed by Cliff Sloan, Mr. Craig was told that" -- and then

24      this is a quote within the defense memorandum -- "if we reached

25      a negative conclusion about the fairness of the trial, it would
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 1      be up to the client whether to release our report or to keep it

 2      confidential."

 3                  So, the defense is asking to use this exhibit because

 4      it shows that Mr. Craig was told that.

 5                  First problem with this is, the memorandum includes

 6      an incomplete rendition of the email, and a, therefore,

 7      slightly misleading rendition of the email.          And I don't know

 8      why someone would do that in a pleading.         Maybe they thought I

 9      would rule based on the quotation alone, without looking at

10      where it came from, but I don't appreciate it.

11                  Defense Exhibit 2 was a email from Cliff Sloan to

12      another Skadden partner, describing in that email a call, a

13      call that occurred prior to the formal undertaking of the

14      engagement, and the call was between Mr. Craig, Mr. Sloan, and

15      Doug Schoen.

16                  Sloan reports to the other Skadden partner that when

17      Mr. Craig asked Schoen questions to determine whether the firm

18      would have the independence that it needed, Schoen stated that

19      "he assumed if we reached a negative conclusion, it would be up

20      to the client whether to release the report."

21                  Mr. Schoen was here, and he was on the witness stand.

22      If it was relevant, the defense had ample opportunity to ask

23      what he knew about the terms of the representation, whether his

24      assumption was based on anything, and what he told Craig,

25      either in that email or that phone call or at any other time,
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 1      about the terms of the representation.         But admitting the email

 2      alone leaves his assumption unexamined.

 3                  Moreover, there's been testimony from both Schoen and

 4      the Skadden lawyers that Schoen simply made the introduction,

 5      and that Craig traveled to Kyiv to meet with Pinchuk, meet with

 6      the Ministry of Justice, and meet with Paul Manafort to discuss

 7      the potential representation and the terms of that

 8      representation in person.

 9                  And, therefore, any speculation conveyed by Shoen in

10      February of 2012 is not relevant to Mr. Craig's actual state of

11      mind, even when he undertook the representation after meeting

12      with the client in person, much less when he was communicating

13      with the FARA Unit a year or more later.

14                  So, Defense Exhibit 2 will be excluded.

15                  The next document described in the memorandum is

16      Defense Exhibit 165.      That's a September 28th, 2012, email

17      string that begins with Konstantin Kilimnick sending comments

18      on a draft report to Mr. van der Zwaan.         Mr. van der Zwaan

19      agrees to have them translated to English and provide a copy of

20      the English translation to Mr. Manafort.         A subsequent e-mail

21      has Mr. van der Zwaan transmitting the English version to both

22      Mr. Manafort and to Mr. Craig.        The version itself is not

23      attached.

24                  Mr. Craig says in response only, "We are done.          Final

25      draft should be delivered ASAP."
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 1                   Mr. van der Zwaan then asks Craig for instructions

 2      about what to do with the comments and makes some statements

 3      about his efforts to deliver the report.         And there has been

 4      testimony about that already by Mr. Loucks, who was available

 5      for cross-examination.

 6                   Mr. Craig's only response to that was, "Work it out

 7      with Paul and Rick, I guess."

 8                   The defendant's memorandum tells me that

 9      Mr. van der Zwaan's email and other instances of Mr. Craig

10      being made aware of Ukraine's obvious dissatisfaction with the

11      report as written, and plans to mischaracterize it in a false

12      media rollout, are evidence that he was acting to correct

13      misinformation when he spoke to journalists around the time of

14      the Report's release, just as he told the FARA Unit.

15                   But the problem is, the email doesn't really bear on

16      any of that.     Yes, it shows that additional comments were

17      transmitted on September 28th, and Mr. Craig took the position

18      that at that point the report was finished.          But, we have no

19      idea what the comments were, and so the characterization in the

20      memorandum of it reflecting obvious dissatisfaction isn't

21      supported.

22                   Also, the document says nothing about what Ukraine

23      did or did not intend to do with the report.          Nor is it

24      contemporaneous with the report or indicative of Mr. Craig's

25      understanding of what the Ukraine's intentions were at the time
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 1      of the release of the report on December 13, or his

 2      communications with journalists immediately before or after its

 3      release.    So it's not admissible for that purpose.

 4                  Without the attachment or testimony by someone with

 5      knowledge regarding the nature of the comments, what, if

 6      anything, Skadden was being asked to do, they're not -- it's

 7      not relevant for any purpose other than the mere fact that more

 8      comments were transmitted at that time; Mr. Craig took the

 9      position on that date that the report was finished, and that he

10      directed Mr. van der Zwaan to deal with Mr. Manafort.

11                  If it turns out those facts are relevant, the

12      document could come in for that purpose alone.

13                  The motion identifies Defense Exhibits 177, 183, 186,

14      and 283 in connection with the same assertion that other

15      instances of Mr. Craig being aware -- being made aware of

16      Ukraine's obvious dissatisfaction with the report and plans to

17      mischaracterize it in a false media rollout are evidence that

18      he was acting to correct misinformation when he spoke to

19      journalists.

20                  The government questions the relevance and

21      application of any hearsay exception to these documents, since

22      they're not contemporaneous with any time in which his state of

23      mind is in issue.

24                  In Defense Exhibit 177, he is responding to an

25      October 4th, 2012, email from Mr. Manafort transmitting
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 1      comments, which was not attached to that particular -- to

 2      Document 177.

 3                  Is the email from Mr. Manafort transmitting comments

 4      an exhibit?    Does anyone know?

 5                  MR. TAYLOR:    I'm sorry?

 6                  THE COURT:    Is the email -- Defense Exhibit 177 is a

 7      response to a Paul Manafort email dated October 4.           Is the

 8      Paul Manafort email transmitting comments an exhibit?

 9                  MR. TAYLOR:    I believe so.

10                  MR. MURPHY:    178, I think.

11                  MR. TAYLOR:    October 8.

12                  THE COURT:    What's the number?     It's 178?

13                  MR. MURPHY:    I think it's 178.

14                  THE COURT:    Is that one that I also reserved on or is

15      that one in evidence?

16                  MR. MURPHY:    No, it's been admitted, I believe.

17                  MR. TAYLOR:    It's in evidence.

18                  THE COURT:    All right.    Docket 177 shows Mr. Craig

19      being receptive to some, disputing others, asking for more

20      information about others.       And he tells Mr. Manafort that if

21      the Ukraine wants to say the report is incomplete, they can do

22      so.

23                  I felt that the document lacked any meaning without

24      the underlying email.      But, if that's in evidence, it is that

25      email and not Mr. Craig's characterization of it that sheds
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 1      light on the defendant's knowledge of what the Ukraine planned

 2      to say at the time of the release, but it's not

 3      contemporaneous.     So, whether this email shows their obvious

 4      dissatisfaction with the report, again, isn't clear without

 5      178.

 6                  So, if we have 178, which says what the Ukraine said

 7      as opposed to Mr. Craig's response to what the Ukraine said,

 8      why is it relevant?      Can someone tell me, briefly, why 177 is

 9      relevant?    I have less problem with it knowing that 178 is

10      already in.

11                  MR. TAYLOR:    May I approach?

12                  THE COURT:    Yes.

13                  MR. TAYLOR:    As you've observed, Mr. Craig's

14      knowledge of the intent of Ukraine and of its PR apparatus goes

15      to the heart of why he spoke to the media and, therefore, the

16      truth of what he said to FARA.

17                  THE COURT:    I said you said that.      I didn't even note

18      it, one way or the other.        But go ahead.

19                  MR. TAYLOR:    I didn't mean to mischaracterize the

20      Court.

21                  THE COURT:    All right.

22                  MR. TAYLOR:    His exchange with FARA clearly is

23      directed to the reason why he contacted the media.           Because if

24      you'll recall, both his letter of October 10 and Ms. Hunt's

25      response of January 16th refer to the reason why.
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 1                  THE COURT:    Right.   But they're a year later.       I want

 2      to know -- I want you to be very focused here, because your

 3      memorandum -- your prior arguments and your memorandum have

 4      made it very clear to me what your general theory is.

 5                  MR. TAYLOR:    Correct.

 6                  THE COURT:    I just want to hear what the relevance

 7      is --

 8                  MR. TAYLOR:    This establishes Mr. Craig's state of

 9      mind, as of October the 8th, with regard to the Ukraine's

10      position and whether or not they will take it or not.            And that

11      establishes two things:      One, the truth of Mr. Craig's

12      statement that he did not know what the Ukraine intended to do

13      with it -- remember, he's accused of lying about not knowing

14      what the Ukraine would do with the report.          That is a

15      fundamental assertion in this case.

16                  And with respect, Your Honor, to your earlier ruling,

17      anything that establishes his knowledge or even suspicion that

18      the Ukraine might not release the report or that he did not

19      know what it would do with it or that it would make its

20      decision, that establishes the truth of what he said in his

21      letter.    Therefore, it establishes, in his mind -- the

22      bona fide is the good faith of a representation to FARA that he

23      did not know what the FARA -- what Ukraine intended to do with

24      the report.

25                  Secondly, you see the -- this particular exhibit,
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 1      which is in October, just two months before December,

 2      demonstrates exactly what we said.

 3                  THE COURT:    How does it demonstrate what he knew in

 4      December?

 5                  MR. TAYLOR:    Because if -- what you know in October

 6      is also what you know in December.

 7                  THE COURT:    Things can't -- just -- so, you're saying

 8      that nothing happened in between?

 9                  MR. TAYLOR:    I'm saying that it is relevant.       It

10      certainly goes to -- it is admissible, what he knew in October

11      is admissible to prove what he --

12                  THE COURT:    What he knew, wouldn't that be -- what

13      could have affected his state of mind would be what

14      Mr. Manafort said in 178; isn't that correct?          So what does 177

15      show?

16                  MR. TAYLOR:    The fact that Mr. Craig says it proves

17      that he thought it.      That's -- that's the -- the evidentiary

18      admissibility, you can prove what somebody believes by what

19      they said, and the fact that he says it proves that he thought

20      it.   And the fact that he says it in October and he believed it

21      in --

22                  THE COURT:    Says what?    Tell me the exact words.

23                  MR. TAYLOR:    Says they can take the position that

24      it's incomplete.

25                  THE COURT:    He said if they want to, they can.
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 1                  MR. TAYLOR:    "If they want to."      Well, this is what's

 2      going on, you see, in October of 2012; they're refusing to take

 3      it.    He's being told that unless he makes changes, they're not

 4      going to take it.     And he's saying, they can do whatever they

 5      want to with it, we're not changing it.

 6                  But it also tells him --

 7                  THE COURT:    Well, he also said, Give me more

 8      information about this and that.        We can attach -- put this in

 9      the appendix.     So, some of it he's saying he won't change, some

10      of it he's still saying he will.

11                  MR. TAYLOR:    Your Honor, I'm not saying it's

12      conclusive; I'm saying it's admissible.

13                  THE COURT:    All right.    Let me hear from the

14      government why it's irrelevant if 178 is admitted.

15                  MS. GASTON:    Your Honor, it's irrelevant -- well,

16      first of all, because it is plainly hearsay.          So the incoming

17      that is in 178, if admitted for the effect that it would have

18      on the defendant, is not hearsay.        But, this is plainly

19      hearsay.    These are the defendant's statements that Mr. Taylor

20      just said they're trying to admit for the truth of the matter

21      asserted.

22                  THE COURT:    Well, I'm not sure about that.         To the

23      extent he was characterizing what had been said to him by

24      Mr. Manafort.     It can't come in for what Mr. Manafort said to

25      him.   But, we have -- I wouldn't permit it without the
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 1      underlying email.     But, if you consider them together, then

 2      we're talking about his reaction, as opposed to an out-of-court

 3      statement for the truth of the matter of what Mr. Manafort said

 4      to him.

 5                  So I'm not sure, at this point --

 6                  MS. GASTON:    But they're offering what Mr. Craig said

 7      for the truth of the matter of what he said.          And as offered by

 8      the defense, that is hearsay.

 9                  In addition, it is irrelevant because it -- this is

10      not about --

11                  THE COURT:    Well, they're offering it for the truth

12      of the fact that he said it.       If Ukraine wants to do X, they

13      can do X, isn't -- there's no matter asserted in that.           There's

14      no truth of the matter being asserted by that statement.          It

15      just says, I don't care.

16                  MS. GASTON:    I mean, I think that his -- his comment

17      about, you know, we decline to change our assignment, those are

18      factual statements; we will do this, we will not do that.          They

19      are offering that for the truth.        But, it's also irrelevant.

20      This is not about media contacts.        These are comments from

21      Paul Manafort about the content of the report, which is not the

22      topic of this hearing, nor is the comment process back and

23      forth between Ukraine and Mr. Craig.

24                  To the extent that he was then -- that he made media

25      contacts, that is relevant.       But, comments from Ukraine on the
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 1      report are not relevant.

 2                  THE COURT:    Well, I think it goes to the weight of

 3      it.   We have other exhibits that show comments being made on

 4      the report.    Exhibit 178 shows, again, some are being

 5      transmitted.     You can both argue about what Exhibit 177 shows,

 6      that he's receptive to some, he's rejecting others.              And he

 7      says what he says.      And I think whether it's relevant to

 8      anything is more of a matter of argument.         So, if 178 comes in,

 9      they can come in together.

10                  Defense Exhibit 183, he's simply asking Mr. Manafort

11      to respond to whether the document can be delivered.

12                  Document 186 is Mr. Manafort's detailed response

13      regarding the multiple considerations underlying the decision

14      of when to release.      It doesn't really matter if what he's

15      saying is true.     The fact that he said it can be relevant, but

16      the question is, relevant to what?

17                  He goes on and on about the multiple political and

18      other strategic reasons that he thought the timing wasn't

19      right.   So, it seems to me, it has to come in if Defense

20      Exhibit 183 comes in.      But, if so, what fact would it show that

21      the defense is trying to show?        It doesn't seem to show they

22      are so offended by the content of your report, we want to sit

23      on it.   He's talking about a lot of other reasons why the

24      timing might not be right.

25                  So, what is its relevance, from your point of view?
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 1                   MR. TAYLOR:   Again, Your Honor, the question is

 2      admissibility.     Does it bear on Mr. Craig's understanding of

 3      what Ukraine was doing at this point in time?          It shows his

 4      understanding and his knowledge, that they tried to deliver

 5      this report to the Ukraine and they refused to take it.          It is

 6      his statement.     And it is proof, I assure you, that he believed

 7      that it was entirely likely that the Ukraine might never

 8      release the report.

 9                   And that, as I said earlier, that's one of the things

10      the government says he was untruthful about.          So this proves

11      the truth.    This proves he --

12                   THE COURT:    Well, I think it can come in for the fact

13      that he asked Mr. Manafort what's going on.

14                   MR. TAYLOR:   That's all.

15                   THE COURT:    But I don't think it comes in for the

16      fact that they actually refused to take it.          He's saying, I

17      hear that we're having problems delivering it.          What's going

18      on?

19                   So, for that purpose alone, it comes in.

20                   MR. TAYLOR:   May I, Your Honor?

21                   THE COURT:    Okay.   Explain 186, though, why you want

22      Mr. Manafort's...

23                   MR. TAYLOR:   I think this was a completeness.      It's

24      Manafort's response to him.        We'd happy not to -- we're happy

25      not to have it.     But, what we want is for Mr. Craig to show
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 23 of 164        976


 1      that Mr. Craig knew, believed that Ukraine was not accepting

 2      the report.    This is proof of that.

 3                  THE COURT:    Well, I think that 186 has to come in if

 4      183 comes in.     It makes it complete.      It explains why

 5      Mr. Manafort didn't want the report delivered, and he takes

 6      responsibility for making the decision.

 7                  Are you seeking to introduce anything Mr. Manafort

 8      says in this email for the truth of something he says or just

 9      the fact that he said it?

10                  MR. TAYLOR:    I'm not sure I'd introduce anything

11      Mr. Manafort said for the truth of it.         But, no.

12                  THE COURT:    All right.    Well, because that bears on

13      other evidentiary rulings.       So, they'll be told that it comes

14      in just for the fact that it was said in response to the

15      question that was asked in 183.

16                  MR. TAYLOR:    Yes, Your Honor.

17                  THE COURT:    All right.    While you're still standing

18      there, what is the relevance of Defense Exhibit 283, where

19      Mr. Craig is just saying the report was finished in September?

20      Why isn't that being admitted for the truth of something, that

21      he's saying that, we finished it in September?

22                  MR. TAYLOR:    It's being admitted to show that

23      Mr. Craig knew the report was completed in September and it was

24      not released, and it wasn't released until December.             Again,

25      all of this amounts to the sum total of what Mr. Craig knew in
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 1      early December.     And, so, what he knew in September, what he

 2      knew in October, they are all admissible to prove that what he

 3      knew in December, when he spoke to Sanger.

 4                  THE COURT:    All right.    You can be seated.

 5                  What's the government's objection to 283?

 6                  MS. GASTON:    Your Honor, this is pure hearsay.        They

 7      are offering it for the truth of the matter asserted.            We also

 8      question its reliability because we have an email, for

 9      instance, of the defendant delivering a copy of the report in

10      November and stating that changes have been made.

11                  So, this topic, it seems like we are admitting a lot

12      of potential hearsay material to establish a contested fact,

13      and that this could turn into a minitrial about when the report

14      was finalized and delivered.       And I'm concerned about the

15      potential for that to become a substantial distraction and

16      confusion for the jury.

17                  THE COURT:    All right.    I think his statement is a

18      fact that is being asserted in an out-of-court statement.           I

19      think 283 is hearsay, and I'm going to exclude it.

20                  Defense Exhibit 62.     There was no particular

21      explanation provided in the memorandum.         It's an email from

22      Mr. van der Zwaan to Mr. Craig in June of 2012, very early in

23      the representation, concerning something someone at FTI was up

24      to.   And he says in the email, "We should make it clear to

25      Manafort, as we have already, that we have nothing to do with
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 1      FTI."

 2                   So this is relevant to Mr. van der Zwaan's state of

 3      mind, but Mr. van der Zwaan's state of mind isn't in issue, and

 4      it asserts a fact, We have already made this clear to

 5      Mr. Manafort.     And Mr. van der Zwaan is not available for

 6      cross-examination concerning what he meant.          There's a response

 7      to this by Mr. Craig, who says, "That is why we stayed out of

 8      it and insisted that FTI deal directly with Manafort."

 9                   That is also an assertion of fact about what Skadden

10      did or did not insist upon.       Defense is certainly free to ask

11      Mr. Gates, who was at many of the meetings.          And if Mr. Craig

12      indeed insisted to him and to Mr. Manafort at a meeting that

13      that take place, that would not be hearsay.          It would be

14      admissible for the fact that Mr. Craig said it to the two of

15      them, and it would bear on Mr. Craig's intent, at least at the

16      time he made it, which is considerably before the time that's

17      relevant to the false statements.

18                   But, Mr. Craig's statement to Mr. van der Zwaan that

19      he'd said it before is hearsay and not relevant to the time

20      period in issue.     So, the document will be excluded.

21                   Defense Exhibit 104.     There was no -- yes, sir.

22                   MR. TAYLOR:   Exhibit 62?

23                   THE COURT:    He asked if I was referring to exhibit --

24      which one?    And that was 62.     Defense Exhibit 62 is excluded.

25                   Defense Exhibit 104, again, there was no explanation
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 1      provided in the memorandum.       It begins with an August 30th

 2      email from Mr. Manafort to a number of people concerning their

 3      final steps, including some mention of FTI and the rollout.

 4      Mr. Craig then asks the other members of the Skadden team -- he

 5      had received the email -- any reaction?

 6                  Mr. Haskell weighs in.      Mr. van der Zwaan weighs in.

 7      Mr. Haskell was called as a witness, not just by the

 8      government, but by the defendant.        So the defense has certainly

 9      had an opportunity to ask him anything they wanted to ask him

10      about this.    And he conveyed some thoughts, and

11      Mr. van der Zwaan did as well.        And Mr. van der Zwaan proposed

12      giving an early copy to FTI.

13                  Mr. Craig responded, "I'm talking directly to Hawker

14      about that issue."

15                  Mr. van der Zwaan says, "I went without your

16      permission."

17                  Mr. Craig says, "okay."

18                  I don't see the hearsay in that, but I also don't

19      understand what's relevant.       And if it is relevant, why wasn't

20      that information elicited from Mr. Haskell when he was here to

21      talk about it?

22                  MR. TAYLOR:    Again, Your Honor, every one of these

23      relates to proof of Mr. Craig's knowledge and state of mind.

24      Whether other people are involved in these conversations is

25      interesting, it may even be relevant.         But every one of the
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 1      things that we're looking at relates to something that was said

 2      to him, that goes into his base of knowledge, or something that

 3      he said which shows his knowledge and intent.

 4                  THE COURT:    All right.    So what is the part of this

 5      exchange -- Manafort sends an email saying this is a bunch of

 6      things that are going to happen, and Mr. Craig asks his team,

 7      "Any reaction?"     They have some thoughts, and then Mr. Craig

 8      announces he's going to talk directly to Hawker about it.          So

 9      that's a statement of future intention.

10                  MR. TAYLOR:    It is.

11                  THE COURT:    It's not an assertion of fact, so --

12                  MR. TAYLOR:    But, it shows a discussion about when

13      Mr. Hawker is going to get a draft of the report.           And you will

14      learn later today that Mr. Hawker already had a draft of the

15      report because it had been leaked to him.         Shows Mr. Craig's

16      misunderstanding of whether Mr. Hawker had the report.           He's

17      saying here, I'm going to talk about giving them access to the

18      report.    What you're going to hear is that Hawker already had

19      it and was pretending that he didn't.

20                  And, so, Mr. Craig's --

21                  THE COURT:    But why is that important?

22                  MR. TAYLOR:    It's important because it shows Hawker

23      is a liar, in Mr. Craig's mind.        It shows what I said

24      explicitly at the start of the case, Mr. Craig's suspicion of

25      Mr. Hawker's honesty and integrity.        It shows that they're
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 1      discussing -- in the evolution of the development of this

 2      report, what you see happen is a souring of relationship

 3      between Craig and FTI.

 4                  THE COURT:    Right.   Well, you're going to be able to

 5      cross-examine Mr. Hawker.       He's going to be here, and I know

 6      that you're planning to call him as your own witness to explore

 7      all those issues.

 8                  MR. TAYLOR:    We're not calling Mr. Hawker, I don't

 9      think so.

10                  THE COURT:    I believe that we had a specific

11      conversation on Friday about the fact that given the fact that

12      Mr. Hawker had come here and he hadn't accepted a subpoena,

13      that you wanted me to make sure that he would be here for when

14      you called him.     And Mr. Murphy is nodding his head behind you,

15      told me that you were planning to call him, or you certainly

16      wanted to have the ability to call him while he was still in

17      the building.     And the government did not object to his being

18      called out of order during its case.

19                  So, if you choose not to call him, you choose not to

20      call him.    But, right now, I'm operating on the assumption that

21      you were planning to call him.

22                  MR. TAYLOR:    I think Mr. Hawker's testimony on direct

23      will be broad, and the scope of the cross, not going to be an

24      issue.

25                  THE COURT:    All right.    So --
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 1                  MR. TAYLOR:    But this is -- whether this is --

 2      question your ruling on, is whether this is admissible as proof

 3      of Mr. Craig's knowledge and state of mind, and it -- and it

 4      does prove exactly that.       They can argue about the weight of

 5      it, but it goes to what he knew and when he knew it.

 6                  THE COURT:    So, it's relevant to what?       That as of

 7      August 30th he did not know that Hawker had the report?

 8                  MR. TAYLOR:    Not just that.     It's relevant to when

 9      Mr. Craig starts to learn that Hawker and others are unhappy

10      and the Ukraine is unhappy --

11                  THE COURT:    None of that is in this email.

12                  MR. TAYLOR:    I know that.

13                  THE COURT:    Okay.   So what is the relevance of this

14      email?   This is just, Should we give them the report?           I'm

15      going to talk to them about that.

16                  So, somebody is lying, we don't know who at this

17      point.   If you're telling me that the -- I don't know the date

18      Mr. Hawker received the report.        I guess I'm going to find out.

19                  Just tell me what this email is for.

20                  MR. TAYLOR:    It shows that Mr. Craig is engaged in

21      talking to Mr. Hawker about the report in late August, or says

22      he's going to.

23                  THE COURT:    Okay.   And it is relevant --

24                  MR. TAYLOR:    It's -- it's not going to prove --

25                  THE COURT:    All right.    Well, all right.     It shows
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 1      that Mr. Craig was planning to talk to Mr. Hawker --

 2                   MR. TAYLOR:    And that there was a topic of

 3      conversation among the people who were involved in whether --

 4      when, how, and under what circumstances FTI was going to get a

 5      copy of the report and what it was going to do with it.           It's

 6      part of the fact --

 7                   THE COURT:    This email does not talk about what it's

 8      going to do with it.

 9                   MR. TAYLOR:    No, it doesn't.

10                   THE COURT:    Okay.   Well, that's my problem.

11                   MR. TAYLOR:    I know.   But, Your Honor, not every

12      exhibit is a complete story.

13                   THE COURT:    Well, I know that.    It's just you said

14      that was the purpose of this exhibit.         What it does say doesn't

15      bother me.    It's not hearsay, and I don't have a problem with

16      Defense Exhibit 104 coming in.

17                   Defense Exhibit 111, there's more back and forth

18      between Mr. van der Zwaan and Mr. Craig on the issue.            And in

19      Defense Exhibit 111, Mr. Craig reports on the substance of the

20      conversation which, apparently, he did have with Mr. Hawker.

21      His account of what, in fact, was said in a telephone call is

22      hearsay, it is being offered for the truth of what he said to

23      Mr. Hawker.    And you're welcome to ask Mr. Hawker what happened

24      in that phone call.       But, 111 will be excluded as hearsay.

25                   MR. TAYLOR:    If Mr. Craig testifies that he wrote
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 1      111, is it still excluded?

 2                   THE COURT:    If Mr. Craig is here to testify about his

 3      phone call with Mr. Hawker, he'll testify about his phone call

 4      with Mr. Hawker and we may not need the email at all.            But, if

 5      he's able to be cross-examined, that's a different story.

 6                   MR. TAYLOR:   Yes, Your Honor.

 7                   THE COURT:    Defense Exhibit 317 is the communication

 8      with the FARA Unit initiated by the defendant in February 2014,

 9      as described by the defendant himself.         The defense says it

10      bears on his -- I'm not going to ask you about this one.

11                   It bears on his innocent state of mind in connection

12      with the communications at issue, the latest being October

13      2014 -- '13, four months earlier.        So, it lacks the

14      contemporaneous quality that the defendant's memorandum says is

15      important.    Because of that, the defendant's logic about why

16      it's relevant is strained because the inferences can be drawn

17      either way.

18                   But, the biggest problem is that it contains

19      Mr. Craig's own self-serving, factual characterization, not

20      only of what took place in the more recent communications with

21      Ms. Hunt, but his intentions when he met with the press in

22      December 2012.

23                   Given the limited relevance and the hearsay included

24      within the document, it will be excluded.

25                   There's one additional issue I wanted to touch on.            I
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 1      guess I don't need to do it with respect to the Skadden witness

 2      who's coming to testify today.        The defense, I just want to

 3      bring back up that they've asked to delay any consideration of

 4      the number of character witnesses until it's time for them to

 5      choose what they want to do and who they want to put on, and I

 6      thought that was entirely fair.

 7                  But, it is important that character has to be proved

 8      in accordance with a specific set of rules.          Therefore, I don't

 9      believe it's appropriate to -- until we've nailed this issue

10      down, to ask open-ended questions to Skadden witnesses and let

11      them expound upon the defendant's character.

12                  If the government opens the door in its direct to why

13      the witnesses respected and admired Mr. Craig, then, yes, those

14      witnesses can be cross-examined about it, and I think

15      Mr. Schoen was.     But otherwise, it goes beyond the scope of the

16      direct, and it's not in accordance with the Federal Rules of

17      Evidence to get into everything anyone may have liked about

18      Mr. Craig during the government's case, and trying to use the

19      cross-examination of Skadden witnesses as a substitute for

20      character evidence in accordance with the Federal Rules of

21      Evidence.

22                  So, I just think we need to be careful about that and

23      be attuned to that.      I think that evidence has to come in when

24      you put it in in an appropriate manner.

25                  With respect to other documents, I reserved on
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 1      Defense Exhibit 34.      It is hearsay.    They're out-of-court

 2      statements by Mr. Craig and Mr. van der Zwaan, and I'm going to

 3      exclude it.

 4                   Document 61, I had some questions about its

 5      relevance.    It's a document from June 2012 about getting FTI on

 6      board and issues about that and, apparently, some

 7      miscommunications or frustrations between Mr. Gates and

 8      individuals at FTI.      But, if those issues are relevant,

 9      individuals with personal knowledge of the events can testify

10      about them, and that may obviate the need for the exhibit.

11      But, going to have to take that up at that time.

12                   Document 133 was an email from Mr. Gates.           It appears

13      to be largely irrelevant to this case.         It was about other

14      issues that he was working on, Mr. Manafort was working on on

15      behalf of the Ukraine with respect to the European Centre.             And

16      there is one sentence about the Skadden Report in there

17      indicating that they were trying to defer the timing of those

18      other efforts until after the Skadden Report had been issued.

19                   But, I don't think it really says anything that's

20      relevant to this case.      It was on September 18th, which was

21      before the September 28th email that we have from Mr. Craig

22      where he said, "We are done."       It doesn't really relate to

23      anyone at Skadden's state of mind.        And, so, I think it's

24      irrelevant.

25                   And the rest of them, 176, 195, 262, 301, 313, 320,
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 1      322, 324, and 330 I still haven't ruled on yet.

 2                  Mr. Murphy?

 3                  MR. MURPHY:    May I be heard for a moment, Your

 4      Honor --

 5                  THE COURT:    Yes.

 6                  MR. MURPHY:    -- on Exhibit 317?

 7                  THE COURT:    Yes.

 8                  MR. MURPHY:    If Ms. Hunt is on the stand, I'll be

 9      permitted to ask her about the conversations she had with

10      Mr. Craig in 2014?

11                  THE COURT:    Not if it's not testified about on

12      direct.    If they open the door to further communications after

13      she makes her decision based on his letter, then, obviously, if

14      they open the door, you can ask her about it.          I don't think

15      it's relevant.

16                  MR. MURPHY:    Well, Your Honor, as I think I

17      explained, or tried to explain once before, the reason that

18      it's relevant is because Mr. Craig, in conjunction with

19      Mr. Spiegel at Skadden, having just had a meeting with her in

20      the fall receiving her opinion, were concerned enough about a

21      future effort that they might make to reach out to The New York

22      Times, went back to her to ask, again, whether to reach out to

23      The New York Times to make a correction or a suggested

24      correction would implicate FARA in any way.

25                  And she told them -- or, actually, she told
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 1      Mr. Craig, because Mr. Spiegel wasn't available when she called

 2      them back -- she told Mr. Craig, No, you can do that.            And the

 3      fact that they went through that process and spoke to her again

 4      indicates to me a total absence of willfulness or an intent to

 5      deceive her in any way.

 6                  And it's just logical that a person who -- if he had

 7      successfully pulled the wool over her eyes, which is what the

 8      government alleges, would then, having received the opinion, go

 9      back to her and talk about it some more to make sure that

10      they're on solid ground in reaching out to The New York Times,

11      again, just a month after they got the opinion from her.           I

12      just think it is highly relevant, and I don't understand the

13      argument that it's not relevant.

14                  THE COURT:    Well, I don't think his state of mind a

15      month later, after he has persuaded her of his point of view,

16      is relevant to his state of mind when he was trying to persuade

17      her of his point of view.

18                  MR. MURPHY:    It shows that he has an innocent state

19      of mind throughout, Your Honor.        That's what I think it shows.

20      And I think it's a piece of the puzzle in terms of what

21      Mr. Craig's thought process was, and I think it's relevant.

22                  THE COURT:    Well, you get to cross-examine her based

23      on the scope of her direct.

24                  MR. MURPHY:    I hear you.    But, I think that her

25      reasoning for allowing Mr. Craig not to register and for
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 1      Skadden not to register is implicit, both when she makes the

 2      decision in January, and when she reaffirms it in February.

 3      It's the same decision, the same reasoning.          That's why I think

 4      it's going to be within the scope of direct.

 5                  THE COURT:    All right.    Mr. Campoamor can't stand it.

 6      He needs to talk.

 7                  MR. CAMPOAMOR-SANCHEZ:      We're not going to open the

 8      door.   We're not going to be asking about any communications

 9      that happened after she had made her decision.          That's number

10      one.

11                  Number two, it is completely irrelevant, as the Court

12      has already found, even though Mr. Murphy has asked three times

13      for reconsideration, because it shows not -- it shows nothing

14      about his state of mind when he was trying to convince her.

15      And the document itself is completely self-serving, and it is

16      hearsay.

17                  So, I completely disagree with what he said.         We're

18      not going to open the door, and we will object if there's any

19      attempt to ask her about that or to introduce that document.

20                  MR. MURPHY:    And, so, Your Honor --

21                  THE COURT:    Well, the document's been excluded.

22      That's clear.     This document not only discusses their

23      conversation and reports on it, but it reiterates -- it makes

24      assertions about the original communications with the press.

25      So, the document is out.
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 1                  MR. MURPHY:    I understand, Your Honor.       But, if

 2      Ms. Hunt has a different version of what occurred during that

 3      conversation, she'll be on the stand, she can explain it.            I

 4      don't think she will.

 5                  THE COURT:    Mr. Campoamor, you can sit down.

 6                  MR. MURPHY:    And, Your Honor, if this document is

 7      irrelevant because it's at a different point in time, then why

 8      has the government attempted to put in the 2017 statements that

 9      Mr. Craig made, three years later, to the Special Counsel's

10      Office?    Isn't that equally irrelevant under that theory?

11                  THE COURT:    Whether she gets cross-examined about

12      this -- which is different than the admissibility of the

13      document -- is going to turn on the direct.          If you want to

14      call her as a witness to talk about what happened later, that's

15      a different issue.      But, the document has been excluded.

16      That's all I've ruled on this morning.

17                  MR. MURPHY:    Okay.   Thank you, Your Honor.

18                  THE COURT:    And I do think that all the cases that

19      you've given me about statements by the defendant and the fact

20      that they bear on someone's intent, you use the word

21      "contemporaneous" three or four times in your memorandum,

22      emphasizing to me the importance of a closeness in time between

23      the statement being introduced in evidence and the time at

24      which the state of mind is relevant.         And that's a significant

25      problem with this evidence.
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 1                  All right.    Let's bring the jury in.

 2                  (Whereupon the jury enters the courtroom.)

 3                  THE COURT:    All right.    Good morning.     I note that

 4      all the jurors are present, and I very much appreciate that.              I

 5      just want to have you all assure me that over the weekend, you

 6      paid attention to the fabulous weather and the many Nats home

 7      runs and no one read or heard or discussed this case with

 8      anyone.

 9                  People are nodding and looking at me, so, I'm going

10      to assume that you're all answering that question yes.

11                  Also, I note that you all were here on time, and I

12      believe that you all at least saw me knock on this door an hour

13      ago.   And I do want to assure you that we were not in here

14      watching Oprah and eating bonbons.        We have been ruling on

15      evidentiary matters.      And the point of that lengthy discussion

16      was to interrupt the presentation less frequently, because now

17      there's some clarity about those issues.

18                  So I apologize for the fact that you were cooling

19      your heels in the jury room.       Sometimes this happens.       But,

20      hopefully, you were in there with whatever breakfast has been

21      provided as well.

22                  All right.    The government can call its next

23      witness.

24                  MS. GASTON:    Thank you, Your Honor.

25                  The government calls Allon Kedem.
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 1                                  ALLON KEDEM,

 2      was called as a witness and, having been first duly sworn, was

 3      examined and testified as follows:

 4                               DIRECT EXAMINATION

 5      BY MS. GASTON:

 6      Q.   Good morning, sir.

 7      A.   Good morning.

 8      Q.   Can you please introduce yourself to the jury and spell

 9      your name for the court reporter.

10      A.   My name is Allon Kedem, A-L-L-O-N.        Last name is K-E-D-E-M.

11      Q.   And, Mr. Kedem, are you employed?

12      A.   I was recently employed at the Department of Justice, and

13      I'll soon be starting at a firm in private practice.

14      Q.   And before you worked at the Department of Justice, where

15      did you work?

16      A.   Do you want starting right before or --

17      Q.   Right before and working backward.

18      A.   So, right before working at the Department of Justice, I

19      was an associate at Skadden, a law firm in D.C.

20                  Before that, I clerked for Justice Kagan at the U.S.

21      Supreme Court; before that, Justice Kennedy at the Supreme

22      Court; before that, I was an attorney advisor at the Office of

23      Legal Counsel at the Department of Justice; and before that, I

24      was a clerk for the Second Circuit, for Judge Leval; and before

25      that, for the District of Connecticut, for Judge Kravitz.
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 1      Q.    And what was the time period that you worked at Skadden?

 2      A.    I started in the fall of 2011, and I continued until the

 3      summer of 2014.

 4      Q.    And which office were you in?

 5      A.    The D.C. office.

 6      Q.    Did you work on the Skadden Tymoshenko Report when you were

 7      at Skadden?

 8      A.    Yes.

 9      Q.    And how did you first learn about that project?

10      A.    One of the partners in the D.C. office -- I think it was

11      either Greg Craig or Cliff Sloan -- came to me and mentioned

12      that there was a potential matter that Skadden might work on

13      relating to the government of Ukraine's prosecution of their

14      former prime minister.      And that Skadden would be potentially

15      working on an independent report, evaluating what had happened

16      and sort of judging whether it comported with western standards

17      of due process.

18      Q.    And so what was the goal of the project, as you understood

19      it?

20      A.    The goal of the project was to look at evidence, to talk to

21      people, to gather documents, and come to an independent

22      assessment of whether what had happened, in terms of her

23      prosecution by the government of Ukraine, was consistent with

24      due process, and whether they had given her the procedural

25      safeguards that they should have.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 41 of 164    994


 1      Q.    And due process according to western standards of justice?

 2      A.    That's right.

 3      Q.    Okay.    And who did you understand the client to be for the

 4      project?

 5      A.    Something like the government of Ukraine, or some part of

 6      it.

 7      Q.    So either the government at large or a portion of the

 8      government?

 9      A.    That's right.

10      Q.    Okay.    And who else at Skadden worked on the project?

11      A.    Along with me, in the D.C. office, there were partners

12      working on it:      Greg Craig, Cliff Sloan, Margaret Krawiec.

13      There were other associates as well, I think Kara Roseen, Paul

14      Kerlin.      And then Alex Haskell was another associate.

15      Q.    Did you consider what would happen if the Report's

16      conclusions were critical of the government of Ukraine?

17      A.    I had a conversation with someone about that.

18      Q.    Did you have a conversation with Mr. Craig about that?

19      A.    I think so.

20      Q.    Yes.    And what do you remember about that conversation?

21      A.    I remember just having a conversation in which someone -- I

22      think I brought up just a question about what would happen if,

23      since we were doing an independent assessment, we came to the

24      conclusion that due process had not been complied with and that

25      the trial had not been conducted properly.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 42 of 164        995


 1                   And he said, you know, that would be the conclusion

 2      we reached, and that as far as the government of Ukraine was

 3      concerned, that the press had been critical of them.             So

 4      critical of them that as long as -- you know, regardless of

 5      what conclusion was reached, it was still probably better than

 6      what people were saying about them.

 7      Q.   And what role did you take in the report project?

 8      A.   I was primarily concerned with helping to assemble and

 9      draft the Report.

10      Q.   So the writing of the Report?

11      A.   That's correct.

12      Q.   Okay.   And in early 2012, before you began working on the

13      Report -- and do you remember approximately when you began

14      working on the Report?

15      A.   I remember.    I think it was -- well, I remember the

16      first -- you're asking when I began working on it or when I

17      became aware of it?

18      Q.   When you began working on it.

19      A.   I think maybe the late spring, early summer.

20      Q.   Okay.   Before you became involved with the project, were

21      you aware of the Foreign Agents Registration Act?

22      A.   I became aware of it at some point.

23      Q.   Okay.   And in the context of the Tymoshenko Report, did you

24      do some FARA research?

25      A.   Yes.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 43 of 164       996


 1      Q.   Do you remember who asked you to do that?

 2      A.   I remember, again, it was either Cliff Sloan or Greg Craig

 3      who contacted me and made me aware of the existence of the

 4      Foreign Agents Registration Act, and asked me to take a quick

 5      look to see whether the Act would apply to the scope of the

 6      work as I understood it.

 7      Q.   And I'm directing you to Government's Exhibit 67, which has

 8      been previously admitted.       It should be on your screen, but it

 9      should also be in the binder, in case you prefer looking at it

10      on paper.

11                  THE COURT:    It's not on mine either.

12                  MS. GASTON:    The fault was on our end.       Sorry.   Sorry

13      about that.

14                  THE COURT:    All right.    It's still better than the

15      old days, when you all had binders in your laps.

16                  MS. GASTON:    Yes.   If all else fails, we can just put

17      it on the Elmo.

18                  THE COURT:    All right.

19                  MS. GASTON:    Is it on now?

20                  THE COURT:    All right.    Is it on the jurors' screens?

21      Not yet?

22                  THE JURORS:    Yes.

23                  MS. GASTON:    It's a long-awaited exhibit.

24                  THE COURT:    Is it on the public screen?

25                  Okay.   Thank you.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 44 of 164   997


 1                   MS. GASTON:   Okay.   Exhibit 67.

 2      BY MS. GASTON:

 3      Q.   So, Mr. Kedem, could you please look at the top of this

 4      email, and tell us who it is from and to and what the date is?

 5      A.   It's from Cliff Sloan to me, and the date is Tuesday,

 6      April 17th, 2012.

 7      Q.   And then if you look at the email below that, does it

 8      appear that Mr. Sloan is forwarding you an email that

 9      Mr. Haskell had sent him on February 13th, 2012?

10      A.   Yes.

11      Q.   Okay.   And if you look down at the bottom of the first

12      page, does it appear that in that email Mr. Haskell had been

13      providing some FARA research?

14      A.   Yes.

15      Q.   Okay.   And then directing your attention to Government's

16      Exhibit 70, which had previously been admitted.

17                   Is this an email chain that you come into on the same

18      day as that email we just looked at, on April 17th, 2012?

19      A.   Yes.

20      Q.   Okay.   So, let's look at the second page of that exhibit.

21      And can we start by looking at how the chain begins?

22                   How does the chain begin?

23      A.   With an email from Alex van der Zwaan to -- what looks like

24      a Project Kyiv distribution list.

25      Q.   And who was Mr. van der Zwaan?
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 45 of 164     998


 1      A.   He was an associate in the London office of Skadden.

 2      Q.   And was Mr. van der Zwaan involved in the Report project?

 3      A.   Yes.

 4      Q.   Okay.   Could you please read what Mr. van der Zwaan

 5      emailed.

 6      A.   Starting with the subject or --

 7      Q.   Yes.

 8      A.   The subject says, "FARA Issues.       Dear Craig, dear Cliff,

 9      have you been able to make any headway in relation to the FARA

10      analysis which we discussed last week?         I'm mindful that the

11      client's view, one of the arms of both Project One and Two, has

12      improved PR on the issue of Ukraine's conduct in relation to

13      Yulia Tymoshenko and her trial.        To the extent that is the

14      case, and we are able to help them with this from a FARA

15      perspective, we ought to consider getting appropriate PR

16      advisors engaged in this process as soon as possible in order

17      to maximize the effect of the suggestions we are making.

18                   "Matt and I have thought of some companies which we

19      could use and could begin to reach out to these people subject

20      to your views on the FARA issues, as well as any other

21      clearance which we may need from Manafort or otherwise.

22                   "Alex."

23      Q.   And then, if you go to the first page of the email, at the

24      very bottom.

25                   Does Mr. Sloan forward Mr. van der Zwaan's email to
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 46 of 164      999


 1      you?

 2      A.     Yes.

 3      Q.     And then what does Mr. Sloan say to you?

 4      A.     Do you want me to read it or do you want me to describe it?

 5      Q.     Could you please read it.

 6      A.     The subject says -- it's forwarded.      It says, "FARA Issues.

 7      Allon, Ken Gross may give you a call.         I left a message with

 8      Ken because, I think, he's our resident FARA, Foreign Agent

 9      Registration Act, guru.      As you may know, FARA requires

10      registration as a foreign agent if one works for a foreign

11      government by attempting to affect U.S. government policy.

12                     "We want to be sure to structure our representation

13      of Ukraine so that we are not foreign agents.          One issue that

14      has come up, as noted below, is retention of a PR firm, which

15      presumably would reach out to western press, including both

16      U.S. and European press, and also our own efforts.           One point

17      Greg has asked is whether it matters if this is done by our

18      London lawyers rather than U.S. lawyers."

19      Q.     Thank you.

20                     Do you remember receiving this email from Mr. Sloan?

21      A.     No.

22      Q.     Okay.   If you look at the email above it, are you replying

23      to Mr. Sloan and looping in Mr. Craig later that same day?

24      A.     That's correct.

25      Q.     Okay.   And the beginning of that email indicates that you
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 47 of 164   1000


 1      spoke with Ken, who, below, it appears from Mr. Sloan's email,

 2      is Ken Gross.

 3                   Do you remember speaking to Mr. Gross?

 4      A.   Yes.

 5      Q.   And what do you remember about speaking to Mr. Gross?

 6      A.   Well, I remember that someone, I think, again, either Greg

 7      or Cliff, had asked me to speak to Ken because he had expertise

 8      working with the FARA statute.        And that I discussed with him

 9      the contours of the project, as it had been described to me,

10      and asked him whether he thought we would be required to

11      register under the Act.      And I remember that his conclusion is

12      that we would not be required to register.

13      Q.   Do you remember asking him about the public relations

14      issues that Mr. van der Zwaan and Mr. Sloan had emailed you

15      about?

16      A.   No.

17      Q.   Okay.   Would you mind reading Mr. Gross's conclusion that

18      you relayed to Mr. Sloan and Mr. Craig?

19      A.   So, reading from the body of the email.

20                   "I spoke with Ken, who seems to have a lot of FARA

21      expertise.    In his view, our work writing a report evaluating

22      the Ukrainian proceedings would not trigger FARA obligations.

23      However, if we were to perform public relations work aimed at

24      the U.S., if our London lawyers were to do so, or if we were to

25      subcontract with a PR firm to do so, then we would be obligated
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 48 of 164     1001


 1      to register under FARA.      If the Ukranian government were to

 2      hire the PR firm directly, then FARA would not come into play

 3      for us.

 4                  "Ken also noted that registering under FARA requires

 5      public disclosure of our engagement with the client.

 6      Therefore, if we do intend to perform services that would

 7      subject us to FARA, we should consider that fact when drafting

 8      our engagement letter."

 9      Q.   And did Mr. Sloan respond to your email?

10      A.   Yes.

11      Q.   And what did Mr. Sloan respond?

12      A.   Reading, again, from the body of the email, he said,

13      "Thanks very much, Allon.       Greg, I think our engagement should

14      not include PR advice.      Manafort or Schoen or somebody else can

15      hire the PR team and manage that.        I say this for two reasons:

16      First, it will create a FARA problem.

17                  "Second, I actually think it's much better for our

18      representation to be rule of law advisors, not rule of law and

19      PR advisors.     Including a PR component as part of our

20      representation has the potential to undermine our work.          We are

21      in this representation as lawyers, not spin doctors, and I

22      think it's important that we be able to say that.

23                  "In any event, the FARA issue looks insurmountable.

24      And, of course, we can provide information and answer questions

25      for the PR firm at the client's direction."
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 49 of 164   1002


 1      Q.   Thank you.

 2                   Mr. Kedem, did you travel to Ukraine as part of your

 3      work on the project?

 4      A.   Yes.

 5      Q.   And do you recall traveling there in July of 2012?

 6      A.   Yes.

 7      Q.   I'm showing you what's previously been admitted as

 8      Government's Exhibit 180.

 9                   MS. GASTON:   And if we could zoom in on this email.

10      BY MS. GASTON:

11      Q.   And the subject of this is, "PR on Project One."

12                   And what do you ask Mr. van der Zwaan in this email?

13      A.   The email says, "Alex, could you forward me the PR document

14      on the Project One report that was being discussed at dinner

15      today?     Thanks.   See you tomorrow morning."

16      Q.   And do you remember the -- do you remember sending this

17      email?

18      A.   No.

19      Q.   Do you remember a dinner in which PR was discussed?

20      A.   No.

21      Q.   And do you remember, on this trip, meeting anyone from a

22      public relations firm?

23      A.   No.

24      Q.   Okay.    Now, I'm showing you what's been marked as

25      Government's Exhibit 182 and previously admitted.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 50 of 164    1003


 1                  MS. GASTON:    And if we could zoom in on the top

 2      email.

 3      BY MS. GASTON:

 4      Q.   And is this a few days after the email that we just looked

 5      at that you had sent to Mr. van der Zwaan?

 6      A.   Yes.

 7      Q.   And the title of this -- the subject of this email is,

 8      "Kyiv Update," and it's to Mr. Sloan and Ms. Krawiec on July

 9      20th.

10                  Is it your understanding that you were in Kyiv at the

11      time you sent this email?

12      A.   Yes.

13      Q.   And that Mr. Sloan and Ms. Krawiec were back in the

14      United States?

15      A.   I think so.

16      Q.   Thank you.

17                  Could you read the first paragraph of your email to

18      them, please.

19      A.   "First, FYI, attached is a document created by the

20      communications firm hired by the government to handle press

21      relations on the two Tymoshenko trials.         The document discusses

22      PR strategy and, starting at page 5, talks specifically about

23      how to handle our report.       On page 6, it says the Report will

24      conclude that the trial was valid, that the crime was

25      committed, and that the sentence was appropriate.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 51 of 164   1004


 1                   "Note, however, that the communications firm

 2      acknowledged that they had not yet read the Report or talked to

 3      Skadden about it.     Greg spoke briefly with them on this trip

 4      and gave them a heads-up that the Report does not take a

 5      position on Tymoshenko's guilt, and also concludes that there

 6      were several significant due process problems with the trial."

 7      Q.   Thank you.    And could you read your second point as well?

 8      A.   "Second, Greg has started easing the government into the

 9      knowledge that the Report will not be 100 percent favorable,

10      but I think he plans to do additional work on that front during

11      the coming weeks.     The sense I got was that they are currently

12      unprepared."

13      Q.   Do you remember sending this email?

14      A.   No.

15      Q.   And do you remember having -- being there for discussions

16      between Mr. Craig and the communications firm?

17      A.   No.

18      Q.   Okay.   And do you remember knowing that Mr. Craig was

19      easing the government into the fact that the Report would not

20      be 100 percent favorable?

21      A.   Not really.

22      Q.   And if you look below the email that we just looked at.

23                   Is the attachment something that you received -- oh,

24      sorry.

25                   Is the attachment something that you received from
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 52 of 164   1005


 1      Mr. van der Zwaan?

 2      A.   It looks that way.

 3      Q.   So, if you reference the previous email that we had looked

 4      at when you had asked Mr. van der Zwaan to send you a public

 5      relations document, does it appear that that is what he was

 6      doing when he sent you this?

 7      A.   Yeah, that's what it looks like.

 8      Q.   Okay.   Now, let's look at the attachment to this email, and

 9      starting on the first page.

10                   Do you remember receiving or reviewing this document?

11      A.   No.

12      Q.   Okay.   If you flip to the fifth page -- or, the seventh

13      page of the exhibit.

14                   MS. GASTON:   Can we zoom in on the bottom half of the

15      page?

16      BY MS. GASTON:

17      Q.   Is this the beginning of the section of the Report that

18      you'd referenced in your email, a strategy regarding the

19      Skadden Report?

20      A.   I'm sorry.    The beginning of the section of the what?

21      Q.   Certainly.

22                   So if you look at your cover email, you say, "The

23      document discusses PR strategy and, starting at page 5, talks

24      specifically about how to handle our report.

25                   So, if you look at page 5, where it begins with
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 53 of 164       1006


 1      "Strategy and Skadden Report," is this the section that your

 2      email references?

 3      A.   Yes.

 4      Q.   Okay.    And does it state that "Given the tight deadline for

 5      publication, it is imperative that we have sight of an advance

 6      draft early next week.      Although we have yet to see the

 7      document and have not discussed its contents with Skadden, we

 8      are operating on the following presumptions"?

 9      A.   It does say that.

10      Q.   The first point reads, "The Report was commissioned by the

11      Ministry of Justice, and not the prosecutor general's

12      department.    It will have to explain why it was appropriate to

13      pay," parenthesis, "such a limited amount," end parenthesis,

14      "to an international law firm to investigate this matter."

15                   Do you remember that being an issue at this time, the

16      payment issue of the firm?

17      A.   I don't remember the timing at which it was made an issue.

18      I do remember that being something that got some press.

19      Q.   And what was your understanding of the way the firm was

20      being paid?

21      A.   I think my understanding --

22                   MR. MURPHY:    Objection, Your Honor.     Foundation.

23                   THE COURT:    Do you know?   Do you have personal

24      knowledge about how the firm was being paid?

25                   THE WITNESS:   I have knowledge of what people told
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 54 of 164       1007


 1      me.

 2                     THE COURT:    Are you going to go further with this

 3      witness on this?

 4                     MS. GASTON:   No.

 5                     THE COURT:    All right.

 6      BY MS. GASTON:

 7      Q.    All right.    We're moving to the second page.

 8                     Is -- I believe the quote that you noted in your

 9      cover email, which is, "The Report will conclude that the trial

10      was valid, that the crime was committed, and that the sentence

11      was appropriate."

12                     And you noted that in your email because they had not

13      received a copy of the Report yet, right?

14      A.    I mean, I don't remember writing the email, so I don't know

15      why I wrote it.

16      Q.    Right.

17      A.    But I -- that is the sentence that I referred to in my

18      email.

19      Q.    Right.    And at this point, was the Report complete?

20      A.    No.

21      Q.    And so had it reached this conclusion that is stated in

22      this document?

23      A.    I don't think it ever reached that conclusion.

24      Q.    Now, if you look at page 9 -- or, 11 of the exhibit, page 9

25      of the attachment.      Part of the plan involves, number one,
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 55 of 164   1008


 1      "Embargoed media outreach with selected journalists; briefing,

 2      in general terms, about the Report; release of abstract of

 3      Report to selected and agreed-to journalists."

 4                     Do you remember seeing this in this document?

 5      A.     No.

 6      Q.     Do you remember there being a discussion while you were in

 7      Kyiv about embargoed media outreach?

 8      A.     No.

 9      Q.     Do you remember any discussion of media outreach?

10      A.     No.

11      Q.     Okay.   Do you remember when the Report was ultimately

12      released?

13      A.     I think it was made public in either late fall or winter of

14      that same year.

15      Q.     And do you remember when in late fall or early winter you

16      learned that the Report would be released?

17      A.     When more specifically than that, you mean?

18      Q.     Do you remember how you learned that the Report would be

19      released?

20      A.     No.

21      Q.     Showing you what's been admitted as Government's Exhibit

22      320.

23                     MS. GASTON:   If we could zoom in on the top, please.

24      BY MS. GASTON:

25      Q.     And this is an email from Catherine Whitney on
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 56 of 164   1009


 1      December 6th, 2012; is that correct?

 2      A.   Yes.

 3      Q.   And what is the subject of the email?

 4      A.   "Report release date."

 5      Q.   And who is Ms. Whitney?

 6      A.   She was Greg's secretary.

 7      Q.   Okay.   And what did Ms. Whitney write?

 8      A.   The text of the email is, "Greg is traveling but wanted me

 9      to let you know that the Report will be released next

10      Wednesday, December 12th."

11      Q.   And did you participate in any media contacts before the

12      Report was made public by Ukraine?

13      A.   No.

14      Q.   Were you aware of anyone else at Skadden doing so before

15      the Report was made public?

16      A.   I don't think so.

17      Q.   And directing you to Government's Exhibit 395, which has

18      been previously admitted.       This is an email from you to some

19      other Skadden attorneys on December 13th, 2012; Is that

20      correct?

21      A.   Yes.

22      Q.   And what do you write to them?

23      A.   The subject of the email -- I'm sorry.

24                   The text of the email is, "In case you guys haven't

25      seen, the coverage so far seems to have described our report as
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 57 of 164   1010


 1      being balanced, and the Ukrainian government has put it on the

 2      web."

 3      Q.   And below your signature block, do you paste in something

 4      about an article?

 5      A.   That's what it looks like.

 6      Q.   And do you know where you got this paragraph that you

 7      pasted?

 8      A.   No, I don't remember.

 9      Q.   Okay.   Were there, sort of, news lists that went around

10      Skadden?

11      A.   There were some, yes.

12      Q.   Does this look like it could have come from that?

13      A.   Yes.

14      Q.   Okay.   And this cites a New York Times article; is that

15      correct?

16      A.   That's correct.

17      Q.   Dated December 12th, 2012?

18      A.   Yes.

19      Q.   And do you recall reading The New York Times article?

20      A.   I don't remember this article in particular, but I remember

21      reading The New York Times, as well as other news sources.

22      Q.   Okay.   And you -- you state in your email that "The

23      coverage so far seems to have described our report as being

24      balanced."

25                   So on December 13th, 2012, was that your general
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 58 of 164    1011


 1      understanding of the media coverage of the Report?

 2      A.   I don't remember what my recollection was.         I don't

 3      remember what my take was on December 13th.

 4      Q.   And you don't remember sending this email?

 5      A.   No.

 6      Q.   Okay.   And after the Report was released, did you

 7      participate in any media contacts related to the release of the

 8      Report?

 9      A.   No.

10      Q.   And were you aware of any other Skadden attorneys doing so?

11      A.   I don't remember.

12      Q.   Okay.   And either before or after the Report was released,

13      did you provide the Report to any journalists in the

14      United States?

15      A.   Did I personally provide?

16      Q.   Yes.

17      A.   No.

18      Q.   And were you aware of any other Skadden attorneys doing so?

19      A.   Not that I remember.

20      Q.   Now, directing your attention to 2013.

21                   At some point, did you become aware that Skadden had

22      received an inquiry of the Department of Justice's FARA Unit?

23      A.   Yes.

24      Q.   What do you remember about learning that?

25      A.   I don't remember the circumstances in which I was made
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 59 of 164        1012


 1      aware of that.     But, I just remember that the FARA Unit or the

 2      Department of Justice got in touch with Skadden about the

 3      question whether Skadden's work on the project required

 4      registration.

 5      Q.   And showing you what's been previously admitted as

 6      Government's Exhibit 461.

 7                  MS. GASTON:    If we could zoom at the top part of it

 8      first, please.

 9      BY MS. GASTON:

10      Q.   And this is an email from Ms. Whitney on September 11,

11      2013; is that correct?

12      A.   Yes.

13      Q.   And what does she write to you?

14      A.   The text of the email says, "Hi, guys.         FYI, Greg asked

15      that I send you both a copy of this attached letter.             If you

16      need copies of the other letters re the FARA issue, just let me

17      know and I can get you copies of the letters leading up to this

18      most recent letter we received from DoJ.

19                  "Alex, I'm also attaching some research that you did

20      long ago re this issue, just as a FYI.         Thanks, Catie."

21      Q.   There is to you and Mr. Haskell?

22      A.   That's correct.

23      Q.   And if you look at the email below it.

24                  Is that -- had she forwarded an email from Mr. Craig?

25      A.   Yes.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 60 of 164   1013


 1      Q.   And who had Mr. Craig written to?

 2      A.   It seems to be sent to Larry Spiegel, CC to David Zornow.

 3      Q.   And who is Mr. Spiegel and Mr. Zornow?

 4      A.   They were partners at Skadden.       I think Larry Spiegel was

 5      counsel for the firm -- or, I guess I don't know whether he was

 6      at the time.     And then David Zornow was in the firm leadership.

 7      Q.   What did Mr. Craig write to them?

 8      A.   The text of the e-mail is, "DoJ has concluded that we

 9      should register under FARA.       I am looking at what options are

10      available, if any."

11      Q.   If you look at the attachment to what Ms. Whitney sent you.

12                  Is it a letter from the Department of Justice,

13      National Security Division?

14      A.   Yes.

15      Q.   And what is the date on this letter?

16      A.   It's dated September 5th, 2013.

17      Q.   And who is it addressed to?

18      A.   It's addressed to Greg.

19      Q.   Do you remember receiving this letter from Ms. Whitney?

20      A.   No.

21      Q.   And do you remember reviewing the letter?

22      A.   No.

23      Q.   And if we look at the last three lines of the letter on the

24      first page.

25                  Do you remember reading that the Department of
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 61 of 164          1014


 1      Justice had concluded that Skadden must register under FARA as

 2      an agent of the Ministry?

 3      A.   I don't remember reading the letter.

 4      Q.   Okay.   And do you remember discussing the letter with

 5      anybody at Skadden?

 6      A.   No.

 7      Q.   Okay.   I'm directing you to Government's Exhibit 466, which

 8      has previously been admitted, and looking at the top first.

 9                   And is this an email from Mr. Craig to you?

10      A.   Yes.

11      Q.   On September 19th?

12      A.   Yes.

13      Q.   And he's forwarding you an e-mail that --

14                   MS. GASTON:   Let's look down upon it first.

15                   Sorry.   I wasn't clear with Ms. Rohde.

16      BY MS. GASTON:

17      Q.   All right.    So is this the email that Mr. Craig forwarded

18      to you?

19      A.   Yes.

20      Q.   And who is it to?

21      A.   It's sent to Larry Spiegel.

22      Q.   And what's the subject line?

23      A.   "FARA."

24      Q.   And what did Mr. Craig write?

25      A.   The text of the email says, "Just for the record:           One,
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 62 of 164         1015


 1      Skadden did not disseminate the report to news media.            Three

 2      media outlets who were not able to obtain a copy of the report

 3      from the Ministry in Kyiv contacted us and asked us to provide

 4      them with a copy.     The report was a public document.

 5                   "Two, at no time did Skadden contact the media.

 6      Quite to the contrary.      We were approached by the media, asked

 7      for interviews, asked for background commentary, etcetera, and

 8      we did not respond.      The only time we responded was to correct

 9      misinformation.

10                   "Three, to the best of my recollection, our

11      statements to the press were not about Ukraine; they were to

12      correct misinformation.      The statements were about our report

13      and about us."

14      Q.   Do you know why Mr. Craig forwarded this to you?

15      A.   No.

16      Q.   Okay.    And looking, first, at the number one that he

17      enumerated.

18                   When he wrote that "Three media outlets who were not

19      able to obtain a copy of the report from the Ministry in Kyiv

20      contacted us and asked us to provide them with a copy.           The

21      report was a public document," did you know if that was true?

22      A.   I know that Ukraine made -- made the report available, at

23      some point, over the web.       I remember that, at some point,

24      there was some issue with people being able to access the

25      report, and at some point that got resolved.          I don't remember
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 63 of 164      1016


 1      the specifics.

 2      Q.   Okay.   But do you know if it was true that the reason that

 3      Skadden provided the report to three media outlets is because

 4      the reporters were not able to obtain copies of the report?

 5      A.   No, I don't know.

 6      Q.   And did you know whether the report was a public document

 7      at the time that Skadden did so?

 8      A.   So, I don't know about the first part, so I don't know when

 9      that was.

10      Q.   Okay.   And then on the second point, when he wrote "At no

11      time did Skadden contact the media.        Quite to the contrary.    We

12      were approached by the media, asked for interviews, asked for

13      background commentary, etcetera, and we did not respond.          The

14      only time we responded was to correct misinformation."           Did you

15      know if that was true?

16      A.   No.

17      Q.   Okay.   And if we look at Mr. Craig's email to you.

18                   Do you -- do you remember discussing with him

19      drafting a response to the incoming letter?

20      A.   No.

21      Q.   Do you remember responding to this email?

22      A.   No.

23      Q.   Okay.   Then showing you what's been admitted as

24      Government's Exhibit 7, which is the following day.

25                   Mr. Craig sends a document to you and to Mr. Spiegel
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 64 of 164        1017


 1      and says, "Here is a first shot at it.         Perhaps we need to

 2      include some legal research?"

 3                  Do you remember receiving this email from Mr. Craig?

 4      A.    No.

 5      Q.    And if we look at the attachment, it's titled Draft of

 6      Letter to FARA Division and the Department of Justice,

 7      September 20th, 2013.

 8                  Do you remember receiving the attachment or reviewing

 9      it?

10      A.    No.

11      Q.    And if we look at the last paragraph on the first page.

12      Could you read that paragraph, please.

13      A.    It says, "Your question to us was to whom, if anyone, did

14      your firm release or distribute the report and when?             In our

15      answer, we told you that the firm provided a copy of the report

16      to a reporter from The New York Times, The National Law

17      Journal, and the Los Angeles Times.        Ukrainian authorities had

18      released the report to the general public much earlier in that

19      day, but these three outlets, for some reason, had not been

20      able to obtain copies of the report.         They approached the firm,

21      asked us if we could provide them with a copy, and we did so."

22      Q.    And does that point in the letter seem to coordinate with

23      the number one in the email that we had previously looked at?

24                  You can go look back at it, if you want.

25                  MR. MURPHY:    Objection, Your Honor.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 65 of 164         1018


 1                   THE COURT:    He doesn't need to address the documents.

 2                   Sustained.

 3                   MS. GASTON:   Okay.   Okay.

 4      BY MS. GASTON:

 5      Q.   And, Mr. Kedem, did you know if that statement that we just

 6      read in the letter is true?

 7      A.   About the --

 8      Q.   Providing a copy of the report.

 9      A.   I don't know.

10      Q.   And then on the second page.       Could you please read,

11      beginning at "To my knowledge."

12      A.   It says, "To my knowledge, no one in this law firm

13      initiated any contacts with the media.         It is simply wrong to

14      say that Skadden took actions to contact the media.              The law

15      firm did not accept invitations from the media to appear or to

16      be interviewed.     The law firm declined the opportunity to

17      communicate with journalists on background.          The law firm

18      declined to discuss the report with government officials from

19      either the legislative or the executive branch, or with experts

20      from think tanks."

21      Q.   Now, as to the media piece of that, did you know whether

22      that was true?

23      A.   No.

24      Q.   And then could you read just the -- that next small

25      paragraph?
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 66 of 164   1019


 1      A.   "As I" -- it says, "As I told you in my letter of

 2      June 3rd, 2013, I did communicate briefly with two print media

 3      journalists.     Even with them, I took no action to contact them.

 4      They initiated the contact."

 5      Q.   Did you know whether that was true?

 6      A.   No.

 7      Q.   And do you know if that letter was sent?

 8      A.   No.

 9      Q.   And did you know anything about what happened within the

10      firm after receiving that September 5th, 2013 letter from the

11      FARA Unit?

12      A.   I just remember that there were further communications or

13      interactions with the department, and that -- the department's

14      conclusion, but that's it.

15      Q.   And what do you recall the department's conclusion being?

16      A.   I remember the conclusion being that registration was not

17      required.

18      Q.   Okay.   And directing you to previously admitted

19      Government's Exhibit 476.       This is in October 15th email from

20      Mr. Craig to you and Mr. Haskell.

21                   And what does Mr. Craig write to you?

22      A.   The text of the e-mail says, "Final chapter, I hope."

23      Q.   And then, if you look at the attachment, is this a signed

24      and dated PDF of a letter?

25      A.   I mean, it is a letter.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 67 of 164   1020


 1      Q.   Back to the FARA Unit?

 2      A.   That's correct.

 3      Q.   And what's the date of it?

 4      A.   It's dated October 10, 2013.

 5      Q.   And do you know if this letter was sent?

 6      A.   No.

 7      Q.   Okay.   And just looking briefly at the second paragraph.

 8                   What is the statement in that second paragraph?

 9      A.   It says, "As reported in earlier correspondence, this law

10      firm provided a copy of the Tymoshenko Report, the Report, to

11      certain U.S. media outlets.       This was done in response to

12      requests from the media.       The firm did not provide copies of

13      the Report to any other media outlets in the United States."

14      Q.   Do you know whether that was true?

15      A.   No.

16      Q.   Okay.   And then the last paragraph of this letter.

17                   Mr. Craig writes that "In responding to inaccuracies

18      in U.S. news reports, the law firm did not consult with

19      Ukraine, did not inform Ukraine, did not act under instruction

20      from Ukraine, and was in no way serving as an agent for

21      Ukraine."

22                   And did know whether the law firm consulted with

23      Ukraine or informed Ukraine in responding to inaccuracies in

24      U.S. news reports?

25      A.   No.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 68 of 164    1021


 1                    MS. GASTON:    Nothing further.

 2                    THE COURT:    All right.   Any cross-examination?

 3                    MR. MURPHY:    Yes, Your Honor.

 4                                  CROSS-EXAMINATION

 5      BY MR. MURPHY:

 6      Q.   Good morning, Mr. Kedem.

 7      A.   Good morning.

 8      Q.   I wanted to ask you a little bit more about your

 9      background.

10                    Did you graduate from law school?

11      A.   I did.

12      Q.   When was that and where?

13      A.   I graduated from Yale Law School in 2005.

14      Q.   And did you have an undergraduate degree?

15      A.   I did.

16      Q.   From Harvard?

17      A.   That's correct.

18      Q.   Now, after you graduated from law school, you indicated

19      that you had -- you were a law clerk for two different judges,

20      right?

21      A.   That's correct.

22      Q.   One was a federal trial judge in the District of

23      Connecticut?

24      A.   Yes.

25      Q.   And that's a comparable court to this court, a trial court
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 69 of 164   1022


 1      in the federal system, right?

 2      A.   That's correct.

 3      Q.   And you worked as a clerk for the judge?

 4      A.   Yes.

 5      Q.   And then after that, you were a law clerk, I think you

 6      said, on the Second Circuit?

 7      A.   That's correct.

 8      Q.   Was that Judge Leval you mentioned?

 9      A.   That's correct.

10      Q.   And that's the Court of Appeals that sits in New York, and

11      they handle appeals from the decisions of the trial courts in

12      that jurisdiction, right?

13      A.   That's right.

14      Q.   You were a law clerk for an appellate judge?

15      A.   That's right.

16      Q.   Then you mentioned, I think, that you worked for the Office

17      of Legal Counsel at the Department of Justice after that,

18      right?

19      A.   That's right.

20      Q.   Can you describe just briefly for the jury what the Office

21      of Legal Counsel is and what it does?

22      A.   The Office of Legal Counsel is a component of the

23      Department of Justice that renders opinions on behalf of the

24      attorney general on legal issues.        So, there will be questions

25      that are brought to the Office of Legal Counsel by other parts
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 70 of 164   1023


 1      of the Department of Justice or by other parts of the federal

 2      government, different agencies, asking about whether they have

 3      the authority to do something or the legality of something.

 4      And they are given opinions from the Office of Legal Counsel

 5      that answer their questions.

 6      Q.   So this is a law firm, in effect, within the Department of

 7      Justice that provides legal advice to agencies of the

 8      government about what those agencies can and cannot do; is that

 9      a summary?

10      A.   You could call it that.

11      Q.   And then after you had a tenure at the Office of Legal

12      Counsel, you were a law clerk for Supreme Court Justice

13      Anthony Kennedy; is that right?

14      A.   Yes.

15      Q.   And then you were also a law clerk, I guess the following

16      year, for Justice Elena Kagan; is that right?

17      A.   Yes.

18      Q.   There aren't too many folks that have been law clerks for

19      two Supreme Court justices, are there?

20      A.   Not that many.

21      Q.   Okay.   There's about 30 or 35 clerks each year, right?

22      A.   That's right.

23      Q.   And you're one of the very few people that I know that have

24      clerked for two justices; is that right?

25                   THE COURT:   I don't think he knows what you know, but
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 71 of 164       1024


 1      he said there weren't very many.

 2      BY MR. MURPHY:

 3      Q.   It's quite a privilege to be a law clerk for a justice of

 4      the Supreme Court, right?

 5      A.   It is.

 6      Q.   And then after you left your clerkship with Justice Kagan,

 7      you came to join Skadden, correct?

 8      A.   That's right.

 9      Q.   And that was in, approximately, the fall of 2011?

10      A.   Yes.

11      Q.   Before you came to Skadden, you interviewed with partners

12      in the firm, right?

13      A.   That's correct.

14                    MS. GASTON:   Objection, Your Honor.     Outside the

15      scope.

16                    THE COURT:    You can ask your next question.

17      BY MR. MURPHY:

18      Q.   Did you interview with Mr. Craig before you came to the

19      firm?

20      A.   I did.

21      Q.   And when you came to the firm, you were there, I guess, for

22      about three years; is that right?

23      A.   That's right, until the summer or late summer of 2014.

24      Q.   And in addition to working on the Tymoshenko Report with

25      Mr. Craig and others, did you have other occasions to work with
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 72 of 164      1025


 1      Mr. Craig during the three years you were there?

 2                   MS. GASTON:   Objection, Your Honor.      Relevance.

 3                   THE COURT:    Sustained.

 4      BY MR. MURPHY:

 5      Q.   Let me ask you this question:       When you left Skadden in the

 6      summer of 2014 -- is that right?

 7      A.   That's right.

 8      Q.   -- you said, I think, that you were working for the

 9      Department of Justice, but I don't think you told us for whom.

10      A.   I joined the Office of the Solicitor General.

11      Q.   And the Solicitor General of the United States is the

12      agency or unit within the Department of Justice that, among

13      other things, argues all cases in the Supreme Court of the

14      United States on behalf of the federal government; is that

15      right?

16      A.   Yes.

17      Q.   And so you were one of the lawyers arguing for the

18      United States in the Supreme Court, correct?

19      A.   Yes.

20      Q.   And you argued 11 times?

21      A.   That's correct.

22      Q.   And you won eight of those cases?

23      A.   That's right.

24      Q.   Okay.   And then you've just recently decided to move on to

25      private practice; is that correct?
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 73 of 164      1026


 1      A.     Yes.

 2      Q.     Okay.   Was Mr. Craig helpful to you when you obtained your

 3      job?

 4                     MS. GASTON:   Objection, Your Honor.

 5                     THE COURT:    Sustained.

 6                     MR. MURPHY:   Okay.

 7      BY MR. MURPHY:

 8      Q.     When you took on the assignment of working on the

 9      Tymoshenko matter with Mr. Craig and Mr. Sloan, you described

10      that it had something to do with a review of the procedures

11      that were utilized by the government of the Ukraine in

12      prosecuting and convicting, eventually, a former prime

13      minister, Yulia Tymoshenko?

14      A.     Yes.

15      Q.     Can you just describe for the jury, in a couple of

16      sentences, what that trial was about?         I don't think they've

17      heard that yet from anyone.

18      A.     Tymoshenko was the prime minister of Ukraine.        And after

19      she was no longer the prime minister, she was prosecuted by the

20      regime that replaced her for abuses of power under a statute

21      that they had that criminalized misuse of government power.

22      And I think the allegation was that she had abused her power as

23      prime minister when she reached a deal with Russia concerning

24      the sale and transport of natural gas to and through Ukraine.

25      Q.     And was part of the story that she had negotiated that deal
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 74 of 164    1027


 1      with Vladimir Putin?

 2      A.   That's correct.

 3      Q.   And was there controversy about whether the deal was

 4      properly authorized by the Council of Ministers of the Ukraine?

 5      A.   That's correct.

 6      Q.   And was there an allegation that she had falsified some

 7      documents, called a directive, to convince the person who was

 8      in charge of the natural gas company that the deal had been

 9      authorized by the government?

10      A.   That's correct.

11      Q.   And, so, your assignment, among other things, was to

12      understand all of the facts involving that natural gas contract

13      and the controversy surrounding it; is that right?

14      A.   Yes.

15      Q.   Do you know how many hours you spent on the project?

16      A.   I don't know exactly.

17                  MS. GASTON:    Objection as to scope.

18                  THE COURT:    You can answer.

19                  Do you remember?

20                  THE WITNESS:    Not exactly.

21      BY MR. MURPHY:

22      Q.   If I told you that the billing records show that it's about

23      350 --

24                  MS. GASTON:    Objection.

25                  THE COURT:    He doesn't know.     If you're going to show
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 75 of 164      1028


 1      him something, but you can't refresh his recollection with your

 2      recollection.

 3                   MR. MURPHY:    All right.

 4                   Let's take a look at Exhibit 575, Government Exhibit.

 5      It's in evidence.

 6                   MS. GASTON:    Objection.   Relevance and scope.

 7                   THE COURT:    All right.    Well, if he knows how many

 8      hours he spent on it, or if this will refresh his recollection.

 9                   Do you have some idea of the ballpark?        Are we

10      talking, you know, 20 hours?       3,000 hours?

11                   THE WITNESS:   It was, I would guess, well over 100

12      hours.

13      BY MR. MURPHY:

14      Q.   Would you disagree if I told you it was about 350 hours?

15      A.   That sounds, roughly, correct.

16      Q.   Do you know that you spent about 200 hours in one month

17      alone, basically, writing the Report?

18      A.   That seems generally correct.

19      Q.   That would have been the month of July, right?

20      A.   Probably.    I don't remember.

21      Q.   And you began the project of writing the Report in the

22      middle of June, right?

23      A.   I don't remember exactly when I began to.

24      Q.   Okay.   But, in any event, it was an extensive writing

25      project to put together the Report, correct?
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 76 of 164   1029


 1      A.   Yes.

 2      Q.   And you were not the only draftsman, but you were the

 3      principal draftsman of the Report; isn't that fair?

 4      A.   I was the principal associate working on drafting the

 5      Report.

 6      Q.   You had other associates who were working on different

 7      parts of the Report, and they would bring what they had written

 8      to you, correct?

 9      A.   That's right.

10      Q.   And you would sort of compile everything and try to get it

11      into a finished product?

12      A.   That's right.

13      Q.   And then the idea, as you mentioned in your direct

14      testimony, was that this was to be an independent report,

15      right?

16      A.   That's correct.

17      Q.   What did that mean to you, Mr. Kedem?

18      A.   My understanding was that the law firm had been hired to

19      look at what had happened, to speak with people who were

20      involved, to look at documents, to read transcripts, and gather

21      all the evidence that we could, and come to an independent

22      assessment.    Meaning, that it was the law firm's own conclusion

23      about what had happened and whether it was proper under western

24      standards of due process, and according to the rule of law.

25      Meaning, that it was supposed to be based on the facts as we
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 77 of 164      1030


 1      saw them and understood them, and the opinions that the law

 2      firm generated from them.

 3      Q.   Was it your understanding that Skadden undertook this

 4      project on the condition that Skadden would be given full

 5      access to all of the people and all of the documents that you

 6      needed to review and interview and see in order to arrive at

 7      that independent conclusion?

 8                   THE COURT:   All right.    Do you have personal

 9      knowledge?    I think there was a question on direct where that

10      might have been related to the payment.         I don't remember.

11                   But, did you have personal knowledge about what

12      conditions under which Skadden undertook the representation,

13      one way or the other?

14                   THE WITNESS:   Yes.

15                   THE COURT:   Okay.    And where did that come from?

16                   THE WITNESS:   It came -- where did my knowledge come

17      from?

18                   THE COURT:   Yes.

19                   THE WITNESS:   It came from reviewing the engagement

20      letter.

21                   THE COURT:   So you can say what the engagement letter

22      said?

23                   THE WITNESS:   That's correct.

24                   THE COURT:   Okay.

25                   He can testify to what the engagement letter said.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 78 of 164   1031


 1                  MR. MURPHY:    Okay.

 2      BY MR. MURPHY:

 3      Q.   And what did it say with respect to access to all of the

 4      witnesses and access to all of the documents in evidence?

 5      A.   My recollection was that the engagement letter said that

 6      Skadden would have to have access to all of the evidence and

 7      all of the witnesses that it wanted, and it had to be free to

 8      speak to whomever the law firm wanted to speak to.

 9      Q.   And as you worked on the Report and supervised others who

10      were working on the Report, was it true that Skadden got access

11      to all of the people and all of the exhibits and all of the

12      documents that were relevant?

13      A.   As far as I knew.

14      Q.   All right.    Was there also a condition in the engagement

15      letter that the opinions that Skadden would reach would be the

16      law firm's opinions and would not be influenced by what the

17      Ukraine Ministry of Justice or others might want those opinions

18      to be?

19      A.   My recollection of the engagement letter is that it said

20      that Skadden would reach its own opinions.

21      Q.   And in your discussions with Mr. Craig, was that an

22      important part of your common understanding with him about the

23      Report?

24                  MS. GASTON:    Objection.

25                  THE COURT:    Sustained.
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 1                   If you want to ask him what Mr. Craig said, which, I

 2      think, that question called for.        I think that was a fair

 3      objection.    You can ask your next question.

 4                   MR. MURPHY:   All right.

 5      BY MR. MURPHY:

 6      Q.   Did you have an understanding -- let me ask you about

 7      this -- that the unit of folks at Skadden who were working on

 8      the Report, did you all share that view --

 9                   MS. GASTON:   Objection.

10      BY MR. MURPHY:

11      Q.   -- about the independence of the Report?

12                   THE COURT:    Right.   I think he's testified to his

13      knowledge about the independence of the report.          I think

14      Mr. Loucks testified about his knowledge of the independence of

15      the Report, and Mr. Haskell testified about his knowledge.

16      But, I don't think you can ask him about what's in other

17      people's heads.

18      BY MR. MURPHY:

19      Q.   Did there come a time, Mr. Kedem, when the Ukraine, through

20      its various representatives in the government and through

21      Mr. Manafort, began to ask Skadden to modify, alter, or change

22      some of its conclusions?

23                   MS. GASTON:   Objection.

24                   THE COURT:    All right.   What's the basis for the

25      objection?
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 1                  MS. GASTON:    Scope of the direct.

 2                  THE COURT:    All right.    Why don't you come to the

 3      bench.

 4                  (Bench discussion:)

 5                  MR. MURPHY:    Part of independence, Your Honor.      It's

 6      part of the independent nature of the report.

 7                  THE COURT:    Now you're getting into facts and events

 8      that happened that are well beyond the scope of the direct.

 9      And you're certainly entitled to bring them in in your case,

10      but I don't see they let the door open to this.

11                  MR. MURPHY:    Your Honor, I think you are really

12      interpreting the scope of the direct very narrowly.

13                  THE COURT:    Maybe.

14                  MR. MURPHY:    In a criminal case, I don't think it's

15      appropriate.     I don't think it's the right thing to do.       But,

16      I'm cross-examining a witness.        But, I will abide by the

17      Court's ruling.

18                  THE COURT:    In cross-examining the witness, who's

19      equally available for you to call as a friendly witness, and by

20      putting it all into your cross-examination, you're leading him

21      through issues that he wasn't asked on direct.          And I don't

22      think it has to -- the government has a right to have that not

23      come in during their case.       I think I've given you a lot of

24      leeway to bring out a lot of things.

25                  Frankly, on direct, he didn't recall any specifics.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 81 of 164     1034


 1      He only recalled what were in emails.         And, so, if you want to

 2      walk him through all the emails related to this, it seems to

 3      me, then that's your case.       And I'm not going to stop you to

 4      putting on the case, and I'm not saying it has to come in

 5      through Mr. Craig either.

 6                   MR. MURPHY:    I think it's within the scope of the

 7      direct, Your Honor.       But I'll abide by your ruling.

 8                   THE COURT:    You've made your record.

 9                   Thank you.

10                   MR. MURPHY:    Thank you.

11                   (Open court:)

12      BY MR. MURPHY:

13      Q.   Mr. Kedem, do you recall that the report that you wrote was

14      about 186 pages long?

15      A.   Generally, yes.

16      Q.   You've had difficulty, on direct, remembering a lot of

17      conversations that occurred and a lot of emails that you either

18      sent or received, right?

19      A.   That's right.

20      Q.   Okay.   And these events took place seven years ago,

21      correct?

22      A.   That's right.

23      Q.   And I assume that in those intervening seven years, you've

24      probably received and sent several thousands emails?

25      A.   Many thousands.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 82 of 164   1035


 1      Q.   Yeah.   Many thousands, right?      Okay.

 2                   One of the things that you did recall, though, was a

 3      conversation that you described with Mr. Craig about the fact

 4      that the press in the Ukraine had been so bad, that there was a

 5      thought that whatever conclusions you might reach wouldn't be

 6      any worse for the Ukraine than the current situation, in terms

 7      of what kind of coverage they were getting over the Tymoshenko

 8      trial, right?

 9      A.   That's right.

10      Q.   Did you and Mr. Craig -- was that an early conversation,

11      early in the process, as you recall?

12      A.   I think it was during the first half of the process.

13      Q.   Okay.   Probably June?     That timeframe?

14      A.   It could be.

15      Q.   All right.    Do you remember also talking with Mr. Craig

16      about the fact that maybe the report would result in the

17      Ukraine deciding to release Ms. Tymoshenko?

18                   MS. GASTON:    Objection.

19                   THE COURT:    If you recall.

20                   THE WITNESS:   I -- I have a general recollection

21      about that being one of the possibilities.

22      BY MR. MURPHY:

23      Q.   Okay.   And do you have a general recollection that one of

24      the things that you and Mr. Craig talked about was that --

25                   MS. GASTON:    Objection.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 83 of 164           1036


 1                  THE COURT:    Sustained.

 2                  MR. MURPHY:    Your Honor, I'm asking about the same

 3      conversation, the same conversation --

 4                  THE COURT:    I don't know that we are.

 5                  MR. MURPHY:    Well, I am.

 6                  THE COURT:    Do you remember more that took place

 7      during the same conversation during the early half of the

 8      process, where you talked about that the press had been so bad

 9      that it couldn't get worse?       Do you remember other aspects of

10      that conversation?

11                  THE WITNESS:    Maybe.    I guess I would have to know

12      what was being asked about.

13                  MR. MURPHY:    Which is what I'm attempting to do, Your

14      Honor, is to ask him whether he remembers something else about

15      the conversation.

16                  THE COURT:    Okay.   Well, I think he just said that he

17      didn't.    But, if -- you can ask a specific question.           If he

18      doesn't recall it, then that's the end of it.

19                  MR. MURPHY:    All right.

20      BY MR. MURPHY:

21      Q.   Mr. Kedem, do you recall discussions about whether the

22      report that you all were working on might lead to reforms in

23      the Ukrainian criminal justice system?

24      A.   I have a general recollection about that.         I don't know

25      whether it was part of that same conversation or a different
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 84 of 164      1037


 1      one.

 2      Q.     Okay.   But that was among the things that people working on

 3      the report thought about, isn't it?

 4                     MS. GASTON:    Objection.

 5                     THE COURT:    You can answer.

 6                     THE WITNESS:   It is a thing that I remember being

 7      discussed while I was around.

 8      BY MR. MURPHY:

 9      Q.     Now, you mentioned that among the people working on the --

10      drafting of the report were yourself, Mr. Kerlin, I think

11      Kara Roseen, and Margaret -- I always pronounce her name

12      wrong -- Krawiec?

13      A.     Krawiec.

14      Q.     Krawiec.

15                     In terms of the people that were, kind of, ultimately

16      responsible for the final product, would that have included

17      you, Mr. Craig, Mr. Sloan, and Alex Haskell?

18      A.     I'm not sure what you mean by "responsible."

19      Q.     When it came time to take comments from the client and his

20      representatives or its representatives, and to review those

21      comments and decide which ones you might make, which ones you

22      might not, was the team that reviewed all of that, was that you

23      and Mr. Craig and Mr. Sloan and Mr. Haskell?

24      A.     We were involved in reviewing comments from Ukraine.

25      Q.     And in terms -- was it a collaborative process of reviewing
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 85 of 164         1038


 1      those comments?

 2                  THE COURT:    I think this gets back up to whether this

 3      happened, to the extent it happened, and what we talked about

 4      at the bench.

 5                  MR. MURPHY:    Okay.

 6                  THE COURT:    So you were part of the process?

 7                  THE WITNESS:    That's correct.

 8                  THE COURT:    All right.

 9                  Next question.

10                  MR. MURPHY:    All right.

11      BY MR. MURPHY:

12      Q.   At the end of the day, when the report was completed, did

13      you believe that you had achieved your goal of creating an

14      independent report?

15      A.   Yes.

16      Q.   Were you proud of the work that you had done?

17      A.   Yes.

18      Q.   When the report was released to the media by the Ukraine in

19      mid-December of 2012, were you among the people that were

20      concerned that the --

21                  MS. GASTON:    Objection.

22                  THE COURT:    Let him ask the question first.        All

23      right.   No facial expressions.

24      BY MR. MURPHY:

25      Q.   Were you among the people that were concerned that the
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 86 of 164     1039


 1      media, in general, was not understanding some of the

 2      conclusions reached in the report?

 3      A.   Yes.

 4                  THE COURT:    Well, that -- okay.      That assumed a fact

 5      that had not yet been established.        But, okay.

 6                  Next question.

 7                  MR. MURPHY:    All right.

 8      BY MR. MURPHY:

 9      Q.   And did you and others at the firm talk about the fact that

10      it didn't seem like anyone in the media was actually reading

11      your report?

12      A.   Yes.

13      Q.   And, in fact, some of the conclusions that you had reached

14      in the Report were being misstated in various media outlets.

15      Do you recall that?

16      A.   Yes.

17      Q.   And, in fact, do you recall that you were concerned that

18      the United States Department of State and its

19      representatives --

20                  MS. GASTON:    Objection.

21                  THE COURT:    Sustained.    We're really --

22                  MR. MURPHY:    All right.

23      BY MR. MURPHY:

24      Q.   Were you, as you think back on it, December of 2012,

25      disappointed --
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 87 of 164   1040


 1                  MS. GASTON:    Objection.

 2      BY MR. MURPHY:

 3      Q.   -- with the way in which the media was characterizing your

 4      report?

 5                  THE COURT:    You can answer that question.

 6      A.   Yes.

 7      BY MR. MURPHY:

 8      Q.   Now, I want to ask you some general questions about some

 9      people that we've mentioned.

10                  Did you have any contact with Paul Manafort during

11      the time you worked on this project?

12      A.   No.

13      Q.   Never met him?

14      A.   No.

15      Q.   Never spoke to him on the phone?

16      A.   No.

17      Q.   Any email exchanges that you had directly with him?

18      A.   Not directly.

19      Q.   Same question about Rick Gates.

20                  Did you ever meet Rick Gates?

21      A.   No.

22      Q.   Ever talk to him on the phone?

23      A.   No.

24      Q.   Ever had any email communications with him?

25      A.   Not directly.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 88 of 164   1041


 1      Q.     There's been a mention of Jonathan Hawker of FTI

 2      Consulting.     Did you meet him?

 3      A.     I don't recall meeting him.

 4      Q.     There's some folks that were involved in the media rollout

 5      of the Skadden Report of the Tymoshenko trial from the Podesta

 6      Group.    Did you know anything about that?

 7                    THE COURT:    Did you deal with the Podesta Group at

 8      all?

 9                    THE WITNESS:   I don't recall dealing with the Podesta

10      Group.

11      BY MR. MURPHY:

12      Q.     Mercury, or Vin Weber?

13      A.     I don't recall dealing with them.

14      Q.     A PR firm call Burson-Marsteller?

15      A.     I don't recall dealing with them.

16      Q.     Another PR firm called FleishmanHillard?

17      A.     I don't recall dealing with them.

18      Q.     During your direct testimony, you mentioned that you had

19      done some early FARA research.        Do you recall that?

20      A.     Yes.

21      Q.     And the government showed you Government Exhibit 67, in

22      which Mr. Haskell's research memo was forwarded to you by

23      Mr. Sloan.     Do you recall that?

24      A.     Do I recall being shown it?

25      Q.     Yes, this morning.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 89 of 164     1042


 1      A.   This morning, yes.

 2      Q.   Okay.

 3                   MR. MURPHY:    Why don't we bring up Government's

 4      Exhibit 67 on the screen.

 5      BY MR. MURPHY:

 6      Q.   My question, though, before we get there, Mr. Kedem, do you

 7      remember actually doing some research on FARA before April 17th

 8      of 2012, when Mr. Sloan sent you Mr. Haskell's earlier email?

 9      A.   So, I don't remember the exact timing, but I recall having

10      been asked to take a look at the statute.

11      Q.   And that was separate and apart from the communications

12      that you had with Ken Gross about the public relations aspect

13      of the project; isn't that right?

14      A.   That's my recollection.

15      Q.   So, sometime earlier on, in addition to the fact that

16      Mr. Haskell --

17                   THE COURT:    He said he didn't recall the timing.

18      BY MR. MURPHY:

19      Q.   Well, do you recall --

20                   THE COURT:    At some point, you did some research?

21                   THE WITNESS:   Pardon?

22                   THE COURT:    You did some research yourself into the

23      statute, but you don't know when?

24                   THE WITNESS:   I remember that it was shortly after I

25      was made aware of the project.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 90 of 164      1043


 1                   THE COURT:    Okay.    And before you had to talk to

 2      Mr. Gross on the phone?

 3                   THE WITNESS:   That's correct.

 4                   THE COURT:    Okay.

 5                   MR. MURPHY:    Okay.

 6      BY MR. MURPHY:

 7      Q.   You were made aware of the project back in the February

 8      2012 timeframe, right?

 9      A.   I think that's generally consistent with when I recall.

10      Q.   Okay.   Do you remember that there was some delay in the

11      project getting started, before it got started in earnest in

12      April?

13      A.   I don't recall.

14      Q.   Okay.   In any event, you remember doing some research.

15                   Did you reduce that research to writing in any form,

16      or did you just give an oral report to Mr. Sloan or Mr. Craig?

17      A.   I don't recall reducing it to writing.

18      Q.   Do you remember talking to them about it?

19      A.   I remember reporting back to whichever of them it was that

20      got in touch with me and saying that I had looked at it.

21      Q.   And what did you tell them about what you had seen when you

22      looked at it?

23      A.   I told them that just from reading the statute, that it

24      didn't seem like it applied to the work that we were

25      anticipating.
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 1      Q.   Okay.    While you were working on the project, did you ever

 2      consider yourself to be acting as an agent for the government

 3      of Ukraine?

 4      A.   No.

 5      Q.   Did you consider Skadden --

 6                   THE COURT:    As an agent --

 7                   MR. MURPHY:   An agent.

 8                   THE COURT:    -- with respect to FARA --

 9                   MR. MURPHY:   On the FARA statute.

10                   THE COURT:    -- or an agent as working for them --

11      BY MR. MURPHY:

12      Q.   With respect to the FARA statute, as defined in the

13      statute, did you consider yourself to be acting as an agent for

14      the government of Ukraine?

15                   MS. GASTON:   Objection.

16                   THE COURT:    Sustained.

17      BY MR. MURPHY:

18      Q.   Did you think that anybody at Skadden was acting as agents

19      for the government of Ukraine in connection with the Tymoshenko

20      Report?

21                   MS. GASTON:   Objection.

22                   THE COURT:    Sustained.

23                   MR. MURPHY:   All right.    Let's look at Exhibit 67.

24      Can you turn to the second page of this exhibit, and blow up

25      the top half?
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 92 of 164   1045


 1      BY MR. MURPHY:

 2      Q.   Now, is this all part of Mr. Haskell's analysis of how the

 3      statute works?

 4      A.   That's what it looks like.

 5      Q.   Okay.

 6                   MR. MURPHY:    And if we turn to the fourth page of the

 7      exhibit and blow up the top.

 8      BY MR. MURPHY:

 9      Q.   Did Mr. Haskell attach to his memorandum a copy of the

10      statute itself?

11      A.   Yes.

12      Q.   And that continues on for quite a few pages, doesn't it?

13                   Do you have the document in front of you?

14      A.   I do.

15      Q.   Thank you.

16      A.   And it looks like it continues for several pages.

17      Q.   All right.    And then, if we turn to page 16 of this

18      exhibit.

19                   MS. GASTON:    Objection.

20                   THE COURT:     Let me hear the question.

21                   MR. MURPHY:    And if we just blow up the bottom part

22      of that.     That's fine.

23      BY MR. MURPHY:

24      Q.   Are these the regulations that the Department of Justice

25      issues under FARA?
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 93 of 164      1046


 1      A.   That's what it look like.

 2      Q.   And Mr. Haskell attached those to his memorandum as well,

 3      didn't he?

 4      A.   He did.

 5      Q.   Now, let's look at Exhibit Number 71.

 6                   THE COURTROOM DEPUTY:      Government?

 7                   THE COURT:    Defense or government?

 8                   MR. MURPHY:   Government Exhibit 71.

 9                   THE COURT:    Thank you.

10                   MR. MURPHY:   Which is in evidence.

11                   THE COURT:    Okay.   Just wanted to know which one.

12                   MS. GASTON:   Objection.

13                   THE COURT:    Again, I think I want to hear the

14      question.

15                   MS. GASTON:   I believe he --

16                   THE COURT:    All right.   Let me -- let me -- go ahead.

17                   MS. GASTON:   This exhibit includes an email that the

18      witness did not receive.

19                   THE COURT:    All right.   Let's take it off the jurors'

20      screens, and you can approach.

21                   MR. MURPHY:   Okay.

22                   (Bench discussion:)

23                   THE COURT:    I might need it on my screen.

24                   He has a copy.    Never mind.

25                   MR. MURPHY:   So, Government 70, Your Honor, was
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 94 of 164    1047


 1      everything on this page.

 2                  THE COURT:    Can you speak so that I can hear you and

 3      not everybody in the room?

 4                  MR. MURPHY:    Sorry.

 5                  Government's Exhibit 70 included everything that's on

 6      this page, except Mr. Craig's response to Mr. Sloan, "Good

 7      advice."

 8                  THE COURT:    Okay.

 9                  MR. MURPHY:    All I want to do is ask him if he knew

10      that this advice was accepted by Mr. Sloan and Mr. Craig.

11      That's all.

12                  MS. GASTON:    He received Mr. Sloan's assessment of

13      the advice.    Mr. Craig did not include him on the reply.

14                  MR. MURPHY:    So, he might know that.

15                  THE COURT:    Well, I think you can ask Mr. Sloan about

16      it.

17                  MR. MURPHY:    I can.   Why can't I ask Mr. Kedem?

18                  THE COURT:    Because there's no reason to believe he

19      knows about it.

20                  MR. MURPHY:    Your Honor, the government has asked

21      Mr. Kedem many, many questions about exhibits he knows nothing

22      about.   They showed him every letter sent to the FARA Unit that

23      he had nothing to do with.

24                  MS. GASTON:    All of which he received.

25                  THE COURT:    All right.    Let's not talk at the same
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 95 of 164        1048


 1      time.

 2                   I don't think there's going to be any dispute that at

 3      some point Mr. Craig responds to Mr. Sloan's email and said,

 4      "Good advice."

 5                   MS. GASTON:   They can bring it in through Mr. Sloan,

 6      who received it.

 7                   THE COURT:    All right.   Do you want to show it him

 8      and say, Did you get this?       And he can say yes or no, and

 9      that's it.

10                   MR. MURPHY:   Okay.

11                   THE COURT:    All right.

12                   (Open court:)

13                   THE COURT:    All right.   I think Ms. Gaston is coming

14      back, so you should come back, too.

15                   (Bench discussion:)

16                   MS. GASTON:   And put it on the jury screens while he

17      looks at it?

18                   THE COURT:    Why do you get to do that?

19                   MR. MURPHY:   It's in evidence, Your Honor.         It's been

20      admitted.

21                   THE COURT:    No.   No.   No.   No.   You remember, we you

22      talked about how things aren't in evidence until a witness has

23      talked about them.      So it isn't in evidence yet.       I've ruled

24      that when they want to use it or when you want to use it with

25      the person, that it can come in.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 96 of 164   1049


 1                   Why don't you just ask him if after he sent

 2      Mr. Gross's advice to Mr. Sloan and Mr. Craig, if Mr. Craig

 3      responded.

 4                   MR. MURPHY:   I'll take it slow.

 5                   THE COURT:    What does that mean?

 6                   MR. MURPHY:   I'm going to show him Exhibit 70.

 7                   THE COURT:    All right.

 8                   MR. MURPHY:   And then I'll ask him.

 9                   THE COURT:    All right.

10                   (Open court:)

11                   MR. MURPHY:   Your Honor, can we put Government

12      Exhibit 70 up on the screen?

13      BY MR. MURPHY:

14      Q.   Mr. Kedem, Exhibit Number 70 is the one that the government

15      showed you this morning, right?

16      A.   Yes.

17      Q.   And it recounts that Mr. van der Zwaan asked the team --

18      because he addressed his question to Project Kyiv DL, right?

19      His initial question on the second page of the exhibit.

20      A.   That's who the email is sent to.

21      Q.   And Project Kyiv DL, that stands for distribution list, DL?

22      A.   I think so.

23      Q.   And you were on that distribution list, right?

24      A.   At some point I became on it, yeah.

25      Q.   And he was asking for advice about whether or not Skadden
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 97 of 164   1050


 1      could get involved in helping the Ukraine find some PR

 2      advisors, right?

 3      A.   That's one of the questions.

 4      Q.   And then Mr. Sloan -- if you look at the next email on the

 5      chain, Mr. Sloan said that Ken Gross might give you a call,

 6      right?

 7      A.   Yes.

 8      Q.   Okay.   And Mr. Sloan told you that Mr. Gross was the

 9      resident expert within the law firm with respect to FARA

10      issues, correct?

11      A.   Yes.

12      Q.   He referred to him as the "guru," right?

13      A.   That's right.

14      Q.   Okay.   And then you did go to speak to Mr. Gross about the

15      questions that you had received from Mr. Sloan and

16      Mr. van der Zwaan, right?

17      A.   I spoke to him.

18      Q.   Yeah.   And did you find out that Mr. Gross was, indeed,

19      someone who had had considerable experience in dealing with the

20      FARA statute?

21      A.   Yes.

22      Q.   And he told you that the law firm should not engage in

23      public relations work if it did not want to register under

24      FARA, correct?

25      A.   Yes.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 98 of 164     1051


 1      Q.   And he told you that if the law firm were to hire the

 2      public relations firm itself, under a subcontract basis, that

 3      that also might require FARA registration, correct?

 4      A.   Yes.

 5      Q.   Okay.   And you conveyed that advice to Mr. Sloan?

 6      A.   That's correct.

 7      Q.   And also to Mr. Craig, right?

 8      A.   That's right.

 9      Q.   And that was in your email of April 17th at, I think,

10      12:26 p.m., right?

11      A.   That's right.

12                   MR. MURPHY:   That would be the next one up, I think,

13      John.

14      BY MR. MURPHY:

15      Q.   And then after conveying that message to Mr. Sloan and

16      Mr. Craig, Mr. Sloan got back to you, right?          At the top of the

17      page.

18      A.   That's right.

19      Q.   Okay.   And he said to Greg -- that's Greg Craig, right?

20      A.   That's correct.

21      Q.   -- "I think our engagement should not include PR advice.

22      Manafort or Schoen or somebody else can hire the PR team and

23      manage that," right?

24      A.   That's what he said.

25      Q.   Okay.   And did you know at the time who Schoen was, even?
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 1      A.   No.

 2      Q.   Okay.   You had heard of Manafort, I guess.

 3      A.   At that time?

 4      Q.   Not even sure?

 5      A.   I don't know that I'd heard of him.

 6      Q.   Okay.   But in any event, the suggestion was that someone

 7      else should hire a PR firm for the Ukraine, correct?

 8      A.   That's what it says.

 9      Q.   And Mr. Sloan went on to say that it was not only a FARA

10      problem, but in terms of your role as independent rule of law

11      advisors, it might seem inconsistent if you were also

12      registered agents for the government of Ukraine, right?

13      A.   Yes, that's what it says.

14      Q.   Okay.   He said, "Of course, we can provide information and

15      answer questions for the PR firm at the client's direction,"

16      right?

17      A.   That's correct.

18      Q.   Okay.   And did you ever have any reason to doubt that that

19      was a correct statement by Mr. Sloan?

20      A.   Statement about the law, you mean?

21      Q.   Statement that "We can provide information and answer

22      questions for the PR firm at the client's direction."

23                   Did you have any reason to question Mr. Sloan's

24      assessment of what the legal landscape was?

25      A.   I don't -- I don't recall having any reason to question it.
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 1       Q.     Okay.   I mean, you didn't say, that's not consistent with

 2       what Ken Gross said, right?

 3       A.     I don't recall saying that, no.

 4       Q.     Okay.   You don't recall disagreeing with it in any way, do

 5       you?

 6       A.     No.

 7       Q.     Okay.   And do you know whether Mr. Craig expressed his

 8       agreement with Mr. Sloan's assessment?

 9       A.     Are you asking whether I recall?

10       Q.     Yes.

11       A.     I don't remember this email chain.

12       Q.     Okay.   This is just one of the emails from seven years ago

13       that you don't really recall that well?

14       A.     That's right.

15       Q.     Okay.

16                      Let me show you next, Government Exhibit 534.

17                      THE COURTROOM DEPUTY:   Is this already in evidence?

18                      MR. MURPHY:   It's in evidence, yes.

19                      THE COURTROOM DEPUTY:   Thank you.

20                      THE COURT:    Mr. Murphy, I was going to do the

21       midmorning break at the end of your cross, but I'm not sure --

22       it's already longer than I thought it was going to be.

23                      So, can you tell me about how much you think you're

24       going to have, since they've been sitting here for a while?

25                      MR. MURPHY:   I think it's going to be a half hour or
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 101 of 164       1054


 1       more.

 2                    THE COURT:    All right.    So, then we're going to take

 3       our midmorning break right now.         I want to caution everyone

 4       that you cannot discuss the case with each other or do any

 5       research or thinking about the case.        And you're excused, and

 6       we'll try to pick up again at noon.

 7                    Thank you.

 8                    (Whereupon the jury exits the courtroom.)

 9                    THE COURT:    All right.    We'll resume at noon.

10                    And I understand, Mr. Murphy, that you're chafing at

11       my rulings about the scope of the direct.         But, you informed me

12       specifically at the beginning this morning that this witness is

13       equally available to you when you want to call him in your

14       case, if you want to.      And, so, I don't see any reason to

15       depart from those basic rules.

16                    MR. MURPHY:   Understood, Your Honor.      But you and I,

17       I think, have a little different understanding of what the

18       scope of direct is.

19                    THE COURT:    Okay.   Well, I'm listening to it, and I'm

20       doing the best I can, based on my recollection of the

21       testimony.

22                    MR. MURPHY:   And I'm doing the same, Your Honor.

23                    Thank you.

24                    THE COURT:    All right.

25                    (Recess.)
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 1                    THE COURT:    Let's bring in the jury.

 2                    (Whereupon the jury enters the courtroom.)

 3                    THE COURT:    All right.   Mr. Murphy, you can continue.

 4                    MR. MURPHY:   Thank you, Your Honor.

 5       BY MR. MURPHY:

 6       Q.   Mr. Kedem, you mentioned this morning, in response to some

 7       questions from the government, that you, I think, had been to

 8       the Ukraine, in connection with this project, one time; is that

 9       right?

10       A.   That's right.

11       Q.   Okay.   And that trip that you took to the Ukraine was in

12       July of 2012?

13       A.   That's correct.

14       Q.   I would like to see if we can narrow down that a little bit

15       more closely.

16                    MR. MURPHY:   And I would like to look at Exhibit 584

17       which is in evidence --

18                    THE COURTROOM DEPUTY:      Government or defense?

19                    MR. MURPHY:   Government 584, which is the Skadden

20       invoice dated August the 20th, which includes the time that was

21       spent by the various people in the month of July.

22                    MS. GASTON:   Exhibit?

23                    THE COURT:    Wait.

24                    MR. MURPHY:   Sorry?

25                    THE COURT:    I can't hear the prosecutor.      She's
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 103 of 164    1056


 1       talking.

 2                    MR. MURPHY:   Government Exhibit 584.

 3       BY MR. MURPHY:

 4       Q.   And while you were working on this project, did you record

 5       the time that you spent every day and what you were doing in

 6       some summary form and include it in the billing records for the

 7       firm?

 8       A.   Yes.

 9       Q.   And if we turn to page 9 of Exhibit 584.

10                    MR. MURPHY:   And go to the bottom of the page and

11       blow that up, the very bottom of that page.

12       BY MR. MURPHY:

13       Q.   That looks like where your time entries begin for the month

14       of July, right?

15       A.   That's right.

16       Q.   Okay.   And you were working, at that time, on drafting the

17       report, mostly, right?

18       A.   Um --

19       Q.   Let's look at the next page, and it will help you, I think.

20                    MR. MURPHY:   And blow up the top half of the page.

21       BY MR. MURPHY:

22       Q.   It looks like pretty much every day you were spending a

23       pretty full day, a lot of days, drafting the Project One report

24       and having communications about the report, drafting?

25       A.   That's what it looks like.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 104 of 164   1057


 1       Q.   Okay.    And then, if you go down to July the 17th of 2012 --

 2                     MR. MURPHY:   And then you can blow up the bottom of

 3       the page.

 4       BY MR. MURPHY:

 5       Q.   -- you can see that you had travel to Kyiv for Project One

 6       report, right?

 7       A.   I did.

 8       Q.   Okay.    And that's the date you traveled to Kyiv?

 9       A.   Probably.

10       Q.   Okay.

11       A.   I just want to be clear.      I didn't -- I don't know whether

12       I wrote this document or its just a recollection of someone

13       else about things that I did.

14       Q.   Okay.    Well, did you record your time?

15       A.   I did record my time, yeah.

16       Q.   All right.    And did you take part, on July the 18th, in an

17       interview with the judge in the case, Judge Kireyev?

18                     MS. GASTON:   Objection, Your Honor.

19                     THE COURT:    Are you just trying to determine whether

20       he was actually in Kyiv?

21                     MR. MURPHY:   That's right, Your Honor.

22                     THE COURT:    All right.

23                     So do these time records refresh your recollection as

24       to whether you were in Kyiv during these activities during that

25       period of time?
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 105 of 164   1058


 1                    THE WITNESS:   I was in Kyiv, I think around this

 2       time, doing these activities, including interviewing

 3       Judge Kireyev.

 4                    MR. MURPHY:    And then, if you turn the page, to the

 5       next page, and blow up the top.

 6       BY MR. MURPHY:

 7       Q.   On July the 20th, you had a -- you participated in a

 8       meeting with the prime minister and members of the Prosecutor

 9       General's Office, right?

10                    MS. GASTON:    Objection.

11                    THE COURT:    Are we getting to --

12                    MR. MURPHY:    We are, Your Honor.

13                    THE COURT:    All right.

14                    So this is also something you did then?

15                    THE WITNESS:   That is something I did, yeah.

16                    THE COURT:    Okay.

17       BY MR. MURPHY:

18       Q.   And that prime minister, that wasn't Yulia Tymoshenko.

19       That was the current prime minster, whose name was Azarov; is

20       that right?

21       A.   I think that's right.

22       Q.   Okay.    The night before, there was testimony that there was

23       a dinner, that Ms. Gaston asked you about a dinner that you

24       attended.    Do you recall the testimony?

25       A.   I do.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 106 of 164    1059


 1       Q.   Okay.    Was that the night before your interview with

 2       Mr. Azarov?

 3       A.   That's right.

 4       Q.   And you remember that because this was a Ukrainian

 5       celebratory dinner of some sort with a lot of shots of vodka

 6       being consumed; is that right?

 7       A.   It was a banquet of some sort, and there was a lot of

 8       vodka.

 9       Q.   Okay.    And you remember that when you interviewed the prime

10       minister the next day, you were feeling a little under the

11       weather?

12       A.   That's right.

13       Q.   Okay.    At the banquet, or dinner, did --

14                    MS. GASTON:   Objection.

15                    THE COURT:    Let him ask the question and then I'll

16       rule on the objection.

17       BY MR. MURPHY:

18       Q.   -- did you receive a gift and did others receive gifts from

19       the members of the procurator general's staff?

20                    THE COURT:    All right.   Can you approach?

21                    MR. MURPHY:   Sure.

22                    (Bench discussion:)

23                    THE COURT:    Your objection?

24                    MS. GASTON:   It's outside of the scope of direct.

25       Mr. Murphy is trying to put his case in through Mr. Kedem right
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 107 of 164         1060


 1       now.   This is exactly what he said he would not do this

 2       morning, when we agreed to put this witness on first.

 3                  THE COURT:    What is the relevance of the testimony

 4       about the gift at the dinner?

 5                  MR. MURPHY:     Okay.   So, Mr. Hawker has stated in a

 6       302 that this dinner, at which everyone received gifts of

 7       clocks and things, took place after the Report was issued, and

 8       it was a celebratory dinner given by the procurator general to

 9       congratulate FTI and Skadden on a successful PR campaign that

10       had been successfully achieved.

11                  That testimony, if he gives it, is false.             We know

12       it's false because Mr. Kedem was at the dinner.          He received

13       one of the clocks.     And the dinner was on July the 19th, long

14       before the Report was even finished, let alone that there was a

15       PR campaign.

16                  So, I want to just establish, simply, that he got the

17       clock.   That's it.

18                  THE COURT:    All right.    Anything further, again, we

19       are going well outside the scope of direct.         You can ask one

20       question, Was this the only dinner that you attended --

21                  MS. GASTON:     It's not consistent.     He said the

22       dinner, today, that's July 18th.       Mr. Murphy is asking about a

23       different dinner so that he can get in his evidence that they

24       want to put in in their case.       We agreed to call this witness

25       today, out of order, the way that we wanted to, so that we
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 108 of 164         1061


 1       could get him done so that he can go on his vacation.            And

 2       Mr. Murphy is exploiting it to put his case in first, and it is

 3       not fair.

 4                   THE COURT:    All right.    My question is:    The

 5       dinner --

 6                   MS. GASTON:    There is an email in which Mr. Kedem

 7       said, Can you send me the PR document on the subject of my

 8       report that was being discussed?        That's on July 18th.

 9                   MR. MURPHY:    It's a different dinner.

10                   MS. GASTON:    Exactly.    So, he's talking about

11       something outside of the scope of direct.

12                   MR. MURPHY:    Your Honor, no.    No, Your Honor.

13       Ms. Gaston asked him specifically if Mr. Hawker was at the

14       dinner, and he said he didn't remember --

15                   MS. GASTON:    I asked no such thing.      I asked if he

16       met with Mr. Hawker at all during this trip.

17                   MR. MURPHY:    At the dinner.

18                   MS. GASTON:    I did not.

19                   MR. MURPHY:    Oh, during the trip?

20                   MS. GASTON:    If he recalled meeting with him during

21       the trip.

22                   THE COURT:    He said he never met at all.

23                   MS. GASTON:    He did not remember meeting him.

24                   THE COURT:    All right.    I think --

25                   MR. MURPHY:    Your Honor, there is one celebratory
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 109 of 164     1062


 1       dinner.   It took place on July the 19th.        Mr. Hawker was there.

 2       But it was not to celebrate the end of the PR campaign, where

 3       the Ukrainians were slapping them on the back saying, Great

 4       job, which is the way Mr. Hawker described it in his most

 5       recent 302.

 6                  MS. GASTON:     Well, Mr. Murphy can cross-examine him

 7       about that.    He can bring his own witnesses in this case.

 8                  THE COURT:    I'm going to ask this gentleman one

 9       question, and then we're moving on.

10                  MR. MURPHY:     Okay.

11                  MS. GASTON:     Your Honor, I would just like to say,

12       Mr. Murphy's cross has already gone for longer than the direct.

13                  MR. MURPHY:     I'm almost finished, Your Honor.

14                  THE COURT:    I think this is not consist with what you

15       told me at the beginning.      And it's not just that I'm being too

16       technical about the scope of direct.        There's a difference

17       between direct and cross.      There's a narrowing on cross, and

18       the lawyer get to do all the talking.        And on direct it's with

19       respect to his personal knowledge.

20                  And, so, you're leading -- when you exceed the cross,

21       you're basically leading the witness to prove your theory,

22       which is what people like to do.       And, of course, always you're

23       entitled to ask questions on cross-examination that support

24       your theory.    But that is different from putting in aspects of

25       your case that are not part of the government's case that
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 110 of 164       1063


 1       otherwise you would have to do during direct examination.

 2                    And, you know, when you say this is a criminal case,

 3       it's true.    But, this isn't the kind of case where you have a

 4       lot of captive government witnesses here.         These are people who

 5       are equally available to both sides, and you'll have ample

 6       opportunity to ask him whatever you want to ask him if and when

 7       you decide to call him.      And I think what you're trying to do

 8       is to not have to do is that.       And I think this is the end of

 9       the road for that.     I will ask one question about that --

10                    MR. MURPHY:    All I want to know is whether he got the

11       gift.

12                    THE COURT:    I know what you want.     Go ahead.

13                    MS. GASTON:    I'm sorry.   Are we --

14                    THE COURT:    I'm going to ask one question, and that's

15       it, on the subject, and then we're going to go on.

16                    (Open court:)

17                    THE COURT:    All right.    Mr. Kedem, did you attend

18       more than one banquet in Kyiv that was a celebration with vodka

19       and gifts?

20                    THE WITNESS:    No.

21                    THE COURT:    And, so, the one you attended, do you

22       specifically recall that it was when you traveled to Kyiv on

23       this trip?

24                    THE WITNESS:    Yes.

25                    THE COURT:    All right.    Ask your next question.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 111 of 164   1064


 1       BY MR. MURPHY:

 2       Q.   Did you receive a clock?

 3                    THE COURT:    I said I was going to ask the question.

 4       We're done.    Ask your next question.      This was the dinner with

 5       gifts.

 6       BY MR. MURPHY:

 7       Q.   At the time of the dinner, was the Report finished?

 8       A.   No.

 9       Q.   In fact, you continued to write the Report while you were

10       in Kyiv, and you stayed a few extra days in your hotel room

11       drafting your report, didn't you?

12       A.   I worked on it, yeah, for an additional couple days there.

13       Q.   Okay.    And, in fact, you finished the final draft on or

14       about the end of July; isn't that right?

15       A.   I don't remember exactly.      I think it was the end of the

16       summer, generally, when the Report was complete.

17       Q.   Okay.    Let me show you next what was -- has been admitted

18       as Government Exhibit 180.

19                    MR. MURPHY:   And if you just blow that up, John.

20       BY MR. MURPHY:

21       Q.   This is an email that you sent to Mr. van der Zwaan on the

22       18th of July.    That's while you were in Kyiv, right?

23       A.   I think so.

24       Q.   And -- well, we just looked at your time records, right?

25       So, you were in Kyiv, right?
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 112 of 164     1065


 1       A.   I think so.    Yeah, that's right.

 2       Q.   And you asked him to forward to you a PR document on the

 3       Project One report that was being discussed at a dinner that

 4       day, right?

 5       A.   That's right.

 6       Q.   Do you remember anything about the discussion of a PR

 7       report?

 8       A.   No.

 9       Q.   Now, if we look at Exhibit 182, Government Exhibit 182.

10       And if you look at the second page first, the bottom email.

11                    So, these email chains, they usually run -- the last

12       one in the chain is the first one that occurred.          And then as

13       people respond, they end up on top of the one before it, right?

14       A.   That's right.

15       Q.   Okay.    So the first email in the chain, by time, was an

16       email from Jon Aarons at FTI Consulting.

17                    Did you know who he was?

18       A.   I don't think so.

19       Q.   And he sent it to Rick Gates at -- looks like four

20       different email addresses, and a copy to Jonathan Hawker.         Do

21       you see that?

22       A.   I do.

23       Q.   And he said -- Mr. Aarons said to Rick, "Here's the

24       promised document.     We look forward to your responses," right?

25       A.   That's right.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 113 of 164      1066


 1       Q.   Okay.   And then, if you turn to the first page of the

 2       exhibit, the next email in the chain, Rick Gates sent to

 3       Alex van der Zwaan on July the 17th, "FYI, per our discussion,"

 4       right?

 5       A.   That's right.

 6       Q.   And the subject was the "Project Veritas communication

 7       strategies."

 8                    Do you see that?

 9       A.   I do.

10       Q.   Did you know anything about what Project Veritas was?

11       A.   I don't think so.

12       Q.   It's a Latin word meaning truth, right?

13       A.   That's right.

14       Q.   Okay.

15                    THE COURT:    You should know that if you went to

16       Harvard.

17                    THE WITNESS:   Yeah.

18                    MR. MURPHY:    I'm sorry.   I didn't hear that, Your

19       Honor.

20                    THE COURT:    I said he should know that if he went to

21       Harvard.

22                    MR. MURPHY:    Yes.    It's the symbol of Harvard.   It

23       says so right on the seal, right?

24                    THE WITNESS:   Yes.

25                    MR. MURPHY:    Okay.   I wonder if Mr. Hawker went to
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 114 of 164         1067


 1       Harvard?

 2                     MR. CAMPOAMOR-SANCHEZ:     Objection, Your Honor.

 3                     THE COURT:    Just, you know, next question.

 4                     MR. MURPHY:   I'm sorry.

 5       BY MR. MURPHY:

 6       Q.   On the top email, Mr. Kedem, you wrote to Cliff Sloan and

 7       Margaret on the 20th, attaching the document that Mr. Aarons

 8       had sent to Mr. Gates and then Mr. Gates had sent to

 9       Mr. van der Zwaan, right?

10       A.   Yes.

11       Q.   And you expressed some concerns about it, right?

12       A.   I'm sorry.    What are you referring to?

13       Q.   Well, the document discusses a PR strategy.         And starting

14       at page 5, specifically about how to handle our report.           On

15       page 6 it says, "The Report will conclude that the trial was

16       valid, that the crime was committed, and that the sentence was

17       appropriate."

18                     Weren't you concerned about that?

19       A.   I mean, I don't remember this email.        But, I think the

20       email says that I, you know, noted that the firm acknowledged

21       they hadn't read the Report.

22       Q.   Right.    So FTI hadn't seen the Report but, apparently, had

23       produced a document describing the Report, right?

24       A.   That's correct.

25       Q.   And the description that they made, that the Report will
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 115 of 164        1068


 1       conclude that the trial was valid and the crime was committed,

 2       was not something that you thought the Report was going to

 3       conclude at that point, did you?

 4       A.   I don't think so.

 5       Q.   And, in fact, wasn't it true that from the outset, when

 6       Skadden undertook the project, they said, We will not opine on

 7       the ultimate question of guilt or innocence?         Wasn't that part

 8       of the understanding from the start?

 9       A.   That was part of the understanding.        I guess I don't recall

10       when it was made firm, but that was part of the understanding

11       of the project.

12       Q.   Okay.   You were drafting the Report in July, and you knew

13       that, at that point, the Report was not going to conclude that

14       the crime had been committed, were you?

15       A.   That's correct.

16       Q.   And you weren't going to conclude that the trial was valid

17       either, were you?

18       A.   I don't think so.

19       Q.   Okay.   Because by that time you had identified some due

20       process violations that had occurred in her trial; isn't that

21       true?

22       A.   We definitely identified due process violations.            I don't

23       recall the timing that we identified them.

24       Q.   Okay.   So, you indicate that Mr. Craig spoke briefly with

25       them on this trip.     And by "them," I assume you mean the people
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 116 of 164     1069


 1       from FTI?

 2       A.     That's what it looks like, yes.

 3       Q.     And gave them a heads-up.    "The Report will not take a

 4       position on Tymoshenko's guilt, and it will conclude that there

 5       were several significant due process problems with the trial,"

 6       right?

 7       A.     That's right.

 8       Q.     That's what you wrote?

 9       A.     That's correct.

10       Q.     Okay.   And in addition, you said that, "Greg" -- that's

11       referring to Mr. Craig -- "has also started easing the

12       government into the knowledge that the Report will not be 100

13       percent favorable," right?

14       A.     That's right.

15       Q.     Did you ever have a sense, Mr. Kedem, that the people at

16       the Ukrainian Ministry of Justice and the Procurator General's

17       Office did not share your view about what an independent report

18       was?

19       A.     Yes.

20       Q.     Now, I want to look at this Project Veritas communication

21       strategy a little bit.      Ms. Gaston showed you a couple

22       passages.      If we turn to page 7 of the exhibit.

23                      Actually, if you -- you can glance through it.     But

24       there's a -- an overall communication strategy that begins on

25       the third page of the exhibit, right?
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 117 of 164       1070


 1                     Sorry to bounce you around a little bit.

 2                     Page 3 of the exhibit, which is page 1 of the

 3       attachment.

 4       A.   I see.

 5       Q.   It says, "Project Veritas communication strategy"?

 6       A.   That's right.

 7       Q.   And then at the bottom says, "There's key lessons from our

 8       visit to the Ukraine," right?

 9       A.   That's what it says.

10       Q.   And then, if you turn in a few pages, there is a reference

11       to progress.     That's on page 4 of the memo, page 6 of the

12       exhibit.

13       A.   That's correct.

14       Q.   And then we get to strategy, which is on page 5 of the

15       memo, page 7 of the exhibit, right?

16       A.   That's right.

17       Q.   And under Strategy, the first headline is Skadden Report.

18       Do you see that?

19       A.   Yes.

20       Q.   All right.

21                     MR. MURPHY:   And let's just highlight that.       Okay.

22       BY MR. MURPHY:

23       Q.   And what the authors say is that "Before agreeing a

24       conclusive strategy, we would need to have time to review and

25       prepare appropriately.      Given the tight deadline for
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 118 of 164       1071


 1       publication, it is imperative that we have sight of an advanced

 2       draft early next week.      Although we have yet to see the

 3       document and have not discussed its contents with Skadden, we

 4       are operating on the following presumptions."

 5                    Do you see that?

 6       A.   I do.

 7       Q.   Okay.    Were you aware, at the time, that there was an

 8       imperative deadline to publish the Report?

 9       A.   No.

10       Q.   Okay.    The next -- well, the first paragraph of the

11       presumption says that the Report was commissioned by the

12       Ministry of Justice and not the Prosecutor General's

13       Department.    Do you do see that?

14       A.   I see that.

15       Q.   Do you have any knowledge about that, one way or the other?

16       A.   I don't recall.

17       Q.   Okay.    The second item on the next page, at the top, is the

18       item that says, "The Report will conclude that the trial was

19       valid, that the crime was committed, and that the sentence was

20       appropriate," right?

21       A.   That's what it says, Yes.

22       Q.   And then the next one, the next bullet point, 3, says, "The

23       report will contain some criticism of the Prosecutor General's

24       Department based on procedure, etcetera.         They will want to

25       issue a lengthy statement defending themselves, and they may
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 1       make emotional statements if unrestrained."

 2                      That's what was said, right?

 3       A.     That's right.

 4       Q.     Then, Ms. Gaston asked you some questions about some of

 5       these other aspects of this media plan.         But, starting at the

 6       bottom of page 6 and going over to page 7, there are references

 7       to a whole variety of entities and people.         Do you see that?

 8       A.     Yes.

 9       Q.     Okay.   So there's the president of the Ukraine, the prime

10       minister of the Ukraine.       And then on the next page, if you go

11       down, there's references to a whole lot of folks, including the

12       Skadden team; the Skadden press office; the FTI team in Kyiv,

13       in Moscow, in Berlin, in Paris; the Burson-Marsteller's firm

14       that I asked you about earlier, in Brussels; FleishmanHillard

15       in the United Kingdom, FleishmanHillard in Berlin,

16       FleishmanHillard in Paris; and a PR agency in Washington, D.C.

17                      Do you see all that?

18       A.     I do.

19       Q.     Do you have any idea who any of those people were other

20       than Skadden or the Skadden press office?

21       A.     I don't recall ever coming into contact with them.

22       Q.     Okay.   Now, I want to show you next Exhibit 190, Government

23       190.

24                      THE COURTROOM DEPUTY:   Admitted?

25                      MR. MURPHY:   Yes, previously admitted.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 120 of 164   1073


 1       BY MR. MURPHY:

 2       Q.   Mr. Kedem, this is an email that you wrote to Mr. Craig and

 3       Mr. Sloan, with copies to other members of the team, and it

 4       looks like it was the attachment of your finished draft of the

 5       Tymoshenko case report, right?

 6       A.   That's correct.

 7       Q.   And the date of that is July the 29th, right?

 8       A.   That's right.

 9       Q.   So, does that refresh your recollection that that's about

10       the time that you finished the draft?

11       A.   That sounds about right.

12       Q.   All right.   Now, there was a long period of time from the

13       time you finished that draft on July the 29th until the report

14       got released in December, right?

15       A.   That's right.

16       Q.   During that period of time, did you begin to wonder whether

17       the Ukraine was going to release the report?

18                  MS. GASTON:     Objection.

19                  THE COURT:    Sustained.

20       BY MR. MURPHY:

21       Q.   Did you have any explanation, were you ever given an

22       explanation for why the report wasn't released during that

23       period of time?

24                  MS. GASTON:     Objection.

25                  THE COURT:    Just answer.     Did you ever get an
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 121 of 164         1074


 1       explanation?

 2                   THE WITNESS:    Well, a number of things sort of

 3       happened, some of which I got an explanation for, some of which

 4       didn't, that led to the delay between when it was finished in

 5       December.

 6                   THE COURT:   Do you have personal knowledge about why

 7       it got released in December, as opposed to in July?              Were you a

 8       part of those conversations with Ukraine?

 9                   THE WITNESS:    So, I never had, to my recollection, a

10       direct conversation with them.       I was shown the contents of

11       communications with them.

12       BY MR. MURPHY:

13       Q.   Can I just ask you, there was a period of time when there

14       was a series of efforts -- and I'm not going to go into them

15       now -- but there was a series of efforts by the Ukraine to ask

16       you to alter your conclusions, wasn't there?

17                   THE COURT:   All right.    Can you approach the bench?

18                   (Bench discussion:)

19                   THE COURT:   Mr. Murphy, I appreciate your right to

20       object to my rulings, but I also expect you to follow them.

21       And your objection to my saying you couldn't go down this road

22       was noted a couple of bench conferences ago.         And I don't like

23       to upbraid people in front of the jury, but we're not going

24       down this road.     This is your testimony.      If you want to do

25       it -- it's outside of the scope of the direct -- and you can
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 122 of 164       1075


 1       call him for that purpose.

 2                    MR. MURPHY:    Okay.

 3                    THE COURT:    But, I don't know that he has that much

 4       personal knowledge anyway, and I ruled on this.          You asked

 5       these exact questions about getting comments and getting drafts

 6       and incorporating them.      And she objected that it was beyond

 7       the scope, and I sustained it.

 8                    MR. MURPHY:    It's just that there's kind of a

 9       mystery, Your Honor, in that the Report is, basically, finished

10       at the end of July.

11                    THE COURT:    It's a mystery because you're trying to

12       create the mystery.       And you're welcome to create and/or

13       explain the mystery at some other point, but you cannot use

14       this witness to do it on cross-examination at this time.

15                    MR. MURPHY:    Thank you.

16                    (Open court:)

17       BY MR. MURPHY:

18       Q.   The Project Veritas media plan that I asked you about,

19       Mr. Kedem, that you received and circulated to the team, to

20       your knowledge, did anyone at Skadden have any role in

21       preparing that plan?

22       A.   Not that I know of.

23       Q.   Okay.   And when you saw it for the first time and

24       circulated it, was it sort of a surprise to you that that

25       document existed?
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 123 of 164   1076


 1                    MS. GASTON:   Objection.

 2                    THE COURT:    Sustained.

 3                    MR. MURPHY:   All right.

 4       BY MR. MURPHY:

 5       Q.   I think you told me that to the best of your recollection,

 6       you'd never met with Mr. Hawker or Mr. Aarons, right?

 7       A.   That's correct.

 8       Q.   Did you ever meet with anybody else that was working for

 9       FTI, as far as you know?

10       A.   Not on this project, as far as I know.

11       Q.   Let's jump ahead to December the 6th in Exhibit 320, which

12       the government introduced earlier today during your testimony.

13                    On Thursday, December the 6th, Ms. Whitney, who was

14       Mr. Craig's assistant, sent a email to folks who were working

15       on -- who had been working on the project, including yourself,

16       saying that "Greg is traveling, but wanted me to let you know

17       that the Report will be released on next Wednesday, December

18       the 12th."

19                    Do you see that?

20       A.   I do.

21       Q.   Okay.   Do you recall that, in fact, the report was not

22       released until Thursday, December the 13th?

23       A.   I don't remember exactly.

24       Q.   Okay.   When you got the message from Ms. Whitney, was it

25       something that you were expecting to receive, or was it sort of
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 124 of 164       1077


 1       coming to you out of the blue?

 2       A.   I don't recall the message from Ms. Whitney.         I recall

 3       expecting that the Report would be released at some point.

 4       Q.   Okay.   Did you have any idea when?      In early December, did

 5       you think, it's coming out soon?

 6       A.   I don't think I knew when it was going to come out.

 7       Q.   Okay.   Had there been prior occasions when it was announced

 8       or indicated that they were going to release the Report and

 9       then it didn't happen?

10       A.   I remember that there were occasions where I thought it was

11       going to come out a number of times and -- and then it didn't.

12       Q.   Okay.   Exhibit 395, Ms. Gaston showed you this morning, was

13       an email that you sent to the -- to members of the team on

14       December the 13th, right?

15       A.   That's correct.

16       Q.   And on that date you forwarded a snippet -- I'll call it --

17       of some summaries of press reports, right?

18       A.   That's right.

19       Q.   You don't remember where you got this thing, do you?

20       A.   No, not exactly.

21       Q.   Okay.   But what it includes is a reference.        It looks like

22       Item 3 was The New York Times, right?

23       A.   That's right.

24       Q.   So there must have been, maybe, some other items, but --

25       A.   That's what it looks like.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 125 of 164   1078


 1       Q.   But you don't remember?

 2       A.   Yeah.   But, I don't remember exactly.

 3       Q.   Okay.   And The New York Times references to an article that

 4       appeared on December the 12th, right?

 5       A.   That's right.

 6       Q.   So if the Report had been officially released on the 13th,

 7       the Times article, apparently, appeared on the 12th?

 8       A.   It's listed as, the Times article, as having come out on

 9       the 12th, definitely.

10       Q.   And you quoted from the article in the Times, didn't you?

11       A.   That's right.

12       Q.   And the passage that you quoted said, "The lawyers, led by

13       President Obama's former White House Counsel Gregory B. Craig,

14       concluded, on behalf of the Ministry of Justice of Ukraine,

15       that Ms. Tymoshenko was denied legal counsel at critical stages

16       of her trial, and that other times her lawyers were wrongly

17       barred from calling relevant witnesses," right?

18       A.   That's correct.

19       Q.   And that was a partial but fair and correct summary of some

20       of your conclusions in your report, isn't it?

21       A.   That's correct.

22       Q.   And then you indicated coverage also appeared in The

23       Telegraph.    And you wrote -- or, I don't know if you wrote

24       this, but somebody wrote, "Gregory Craig, as quoted," right?

25       A.   That's correct.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 126 of 164     1079


 1       Q.   And The Telegraph -- do you know what The Telegraph is?

 2       A.   I assume it could be a British publication.         I think

 3       there's one called The Telegraph.

 4       Q.   Okay.    In London; is that correct?

 5       A.   That's correct.

 6       Q.   Okay.    And then it says the Associated Press and Kyiv Post.

 7                    You were familiar with the Kyiv Post, right?

 8       A.   That's correct.

 9       Q.   The Kyiv Post was an English-language newspaper that came

10       out in the Ukraine, right?

11       A.   It was something that I accessed on the web, so I don't

12       know where it came out.      But, it was an English-language source

13       covering Ukrainian news.

14       Q.   Do you remember how the Kyiv Post covered the release of

15       the Report?

16                    MS. GASTON:    Objection.

17                    THE COURT:    Do you have personal knowledge of how the

18       Kyiv Post -- do you remember?

19                    THE WITNESS:   Yes.

20                    THE COURT:    You can ask the question.

21       BY MR. MURPHY:

22       Q.   What do you remember about it?

23       A.   So, I read a number of articles from the Kyiv Post, and I

24       remember that their coverage was probably the most in depth and

25       balanced.    And they seemed like they were the most familiar
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 127 of 164    1080


 1       with the Report and what it actually said.

 2       Q.   Okay.   And earlier you told me that at the time that the

 3       Report was released, there was some consternation among the

 4       Skadden attorneys who had worked on it that some of the press

 5       coverage was not accurate, right?

 6       A.   That's correct.

 7       Q.   Okay.   But the Kyiv Post was fairly accurate?

 8       A.   Comparatively, yes.

 9       Q.   Okay.   Let's look at Government Exhibit 461.

10                    You were shown this document earlier this morning.

11       This is another email from Ms. Whitney.         Now, this is in

12       September of 2013, right?

13       A.   That's right.

14       Q.   Okay.   So this is about nine months after the Report had

15       been released, correct?

16       A.   That's right.

17       Q.   And Ms. Whitney says, "Hi, guys.       FYI, Greg asked that I

18       send you both a copy of this attached letter."

19                    And the attached letter was a letter from the FARA

20       Unit dated September 5th, 2013, correct?

21       A.   Yes.

22       Q.   All right.   And you and Alex Haskell both were recipients

23       on this email, right?

24       A.   That's right.

25       Q.   Now, at the bottom there's an email from Mr. Craig to
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 128 of 164   1081


 1       Mr. Spiegel and Mr. Zornow on September the 9th, 2013, in which

 2       Mr. Craig wrote, "DoJ has concluded that we should register

 3       under FARA.    I am looking at what options are available, if

 4       any," right?

 5       A.   That's what it says, yes.

 6       Q.   Okay.    Now, there's sort of an implication, I think, in

 7       this email that Ms. Whitney might be preparing you to do some

 8       work on this response.

 9                    Do you recall whether you did any work in connection

10       with this?

11       A.   No.

12       Q.   Okay.    Best of your knowledge, you got these emails, but

13       nobody asked you to do anything?

14       A.   I just don't remember either receiving the emails or doing

15       any work in response to them.

16       Q.   Okay.    And I think you mentioned, but, Mr. Zornow was a

17       member of firm management, I think you said, right?

18       A.   That's right.

19       Q.   Was he the global head of litigation for Skadden?

20       A.   That sounds right.

21       Q.   And Skadden is a big global operation, right?

22       A.   That's correct.

23       Q.   Do you recall approximately how many offices Skadden had

24       around the world?

25       A.   Well over a dozen, I think.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 129 of 164   1082


 1       Q.   And then Mr. Spiegel, you indicated, was the in-house, sort

 2       of, counsel to the firm; is that right?

 3       A.   I think so.

 4       Q.   So he is the lawyer for the firm when the firm had some

 5       legal issues?

 6       A.   That's correct.

 7       Q.   Okay.    All right.   Can I show you next the Government

 8       Exhibit 466, which is in evidence.

 9                    And this was an email, I think, that Ms. Gaston also

10       showed you.    I want to look at the top, which was an email from

11       Mr. Craig to you on September the 19th regarding FARA, right?

12       A.   That's right.

13       Q.   And he said to you, "Maybe the way forward here is to draft

14       a strong response to the letter and to ask for a meeting with

15       other decision makers; for example, their supervisors in the

16       department," right?

17       A.   Yep.

18       Q.   Do you recall hearing that that meeting took place?

19       A.   No.

20       Q.   Although Mr. Greg -- I'm sorry -- Mr. Craig provided this

21       information to you, again, you don't remember him asking you to

22       do anything specific about it?

23       A.   That's right.

24       Q.   And let's look next at Government Exhibit 7, which

25       Ms. Gaston showed you.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 130 of 164   1083


 1                    This is a short email from Mr. Craig to you -- oh,

 2       I'm sorry -- yeah, to you and to Mr. Spiegel, right?

 3       A.   That's right.

 4       Q.   And in it Mr. Craig says, "Here's a first shot at it.

 5       Perhaps we need to include some legal research."

 6                    Do you see that?

 7       A.   Yeah.

 8       Q.   And I'm thinking that if legal research was to be done on

 9       this issue, Mr. Craig might be turning to you to do it, right?

10       A.   He might have.

11       Q.   More likely that you would do it than Mr. Spiegel would do

12       it; is that fair?

13       A.   Probably, yes.

14       Q.   Okay.   But you don't remember whether he ever asked you to

15       do any legal research?

16       A.   That's correct.

17       Q.   Okay.   And to your knowledge, was the attached draft letter

18       ever sent by anyone at Skadden to the Department of Justice?

19       A.   Not that I know of.

20       Q.   And then Exhibit 476, which Ms. Gaston showed you.

21                    That's another letter from Mr. Craig -- or, an email

22       from Mr. Craig to you and Mr. Haskell on Tuesday, October the

23       15th, 2013, right?

24       A.   That's correct.

25       Q.   And its subject matter is, "Final letter to H. Hunt, re
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 131 of 164    1084


 1       FARA," right?

 2       A.   That's right.

 3       Q.   And Mr. Craig said, "Final chapter, I hope," right?

 4       A.   That's correct.

 5       Q.   Okay.   And that -- do you know whether this letter was

 6       sent?

 7       A.   I don't.

 8       Q.   Okay.   But, you do recall hearing that at some point after

 9       October of 2013, that the FARA Unit changed its mind and

10       determined that the firm was not required to register under

11       FARA in connection with its activities for the Ukraine in

12       connection with the Tymoshenko Report, right?

13       A.   That's right.

14       Q.   Okay.

15                    MR. MURPHY:   I have no further questions, Your Honor.

16                    THE COURT:    All right.

17                    MR. MURPHY:   Thank you, Mr. Kedem.

18                    THE COURT:    Redirect?

19                    MS. GASTON:   Very brief, Your Honor.

20                             REDIRECT EXAMINATION

21       BY MS. GASTON:

22       Q.   Mr. Kedem, Mr. Murphy asked you about the engagement letter

23       that you remembered seeing regarding the Ukraine matter.         Do

24       you know whether Ukraine ever signed that letter?

25       A.   I don't know.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 132 of 164      1085


 1       Q.   Okay.    Then he asked you about your independent FARA

 2       research that you conducted at sometime near the beginning of

 3       the Report.     And you mentioned that you had concluded that the

 4       Report would not require FARA registration; is that right?

 5       A.   That's right.

 6       Q.   That didn't take into account any public relations or media

 7       contacts, did it?

 8       A.   I don't think so.     I think what I recalled is that I was

 9       asked about the writing of the Report, an independent report,

10       whether that would require registration under FARA, and that's

11       what I looked into.

12       Q.   So just the Report?

13       A.   That's right.

14       Q.   And then, finally, Mr. Murphy just asked you about a series

15       of documents.     First it was Exhibit 461, which was when

16       Ms. Whitney emailed a copy of the incoming letter from the FARA

17       Unit stating that Skadden had to register.

18                     Do you remember that document?

19       A.   I remember seeing it just now, yes.

20       Q.   Right.    Not from the time?

21       A.   That's right.

22       Q.   And that email was to you and Mr. Haskell, correct?

23       A.   That's correct.

24       Q.   And then there are two emails that Mr. Craig sent only to

25       you and not to Mr. Haskell, correct?        Exhibit 466, which is
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 133 of 164   1086


 1       that "Just for the record" email?

 2       A.   Well, the "Just for the record" email --

 3       Q.   That he forwards --

 4       A.   -- that he forwarded.

 5       Q.   -- was just to you, and not to Mr. Haskell?

 6       A.   That's right.    That's correct.

 7       Q.   And then the draft letter that he sent the following day,

 8       on September 20th, which is Exhibit 7, he sent that to you and

 9       Mr. Spiegel, but not to Mr. Haskell; is that correct?

10       A.   Yes.

11       Q.   And then that final letter, Exhibit 476, which was in a PDF

12       and signed, Mr. Craig sent it to you and Mr. Haskell; is that

13       correct?

14       A.   That's correct.

15       Q.   Okay.

16                    MS. GASTON:   Thank you.

17                    THE COURT:    All right.   This witness can step down.

18                    You're excused.   Thank you.

19                    I think this would be the wrong time to ask the

20       government to bring in its next witness and the right time to

21       permit the jury to have lunch.       So, I'm going to go ahead and

22       do that.

23                    Members of the jury, I ask you to leave your

24       notebooks here.     I ask you, once again, to refrain from

25       discussing this case with each other or with anyone else or
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 134 of 164         1087


 1       doing any research or communicating about the case.

 2                  We will attempt to resume at 1:45.        I hope you enjoy

 3       your lunch.

 4                  Thank you.

 5                  (Whereupon the jury exits the courtroom.)

 6                  MR. CAMPOAMOR-SANCHEZ:      May I address the Court

 7       briefly?

 8                  THE COURT:    Yes, you may.

 9                  MR. CAMPOAMOR-SANCHEZ:      First of all, Your Honor, I

10       just want to put a request in the record.

11                  We have not been provided with Jencks for

12       Mr. Haskell.    The defense called him in their case, which the

13       Court allowed.    Over the weekend, I requested -- we were not

14       provided anything.     We know they met with him at least once, if

15       not more than once.     We have not received a response.

16                  And we're making a formal request through the

17       Court --

18                  THE COURT:    Mr. Haskell or Mr. Hawkins?

19                  MR. CAMPOAMOR-SANCHEZ:      Mr. Haskell.

20                  THE COURT:    Okay.    It's a little late now.

21                  Mr. Haskell?

22                  MR. CAMPOAMOR-SANCHEZ:      Yes, Mr. Haskell.         We were

23       not provided Jencks.

24                  THE COURT:    Right.

25                  MR. CAMPOAMOR-SANCHEZ:      That's my point.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 135 of 164           1088


 1                   THE COURT:   I know that, but what I'm saying is, your

 2       cross-examination of him is finished, but you want it anyway?

 3                   MR. CAMPOAMOR-SANCHEZ:     I certainly want it.         We're

 4       entitled to it.     And if there's something in there that we need

 5       to get out, then maybe he can be recalled for that.              But, we

 6       were entitled to it and we were not provided for that.             And

 7       that's part of the problem with calling witnesses that are

 8       really in the defense case in the middle of the government's

 9       case.

10                   Secondly, Your Honor, I want to put our -- I mean, I

11       don't know how to phrase it, but it's really our strong

12       objection on the record.      I mean, now they have, again, said

13       that we're not going to do this.       That's exactly what they did.

14       I would be very shocked if they ever called Mr. Kedem in their

15       case at all.    And now it's impacting our witnesses and

16       Mr. Hawker and their travel plans and what else they have to

17       do.

18                   And I don't know if the hope is that he was going to

19       be overnight.    Certainly, he's not going to be finished now,

20       today.   And this is precisely what we did not want to happen,

21       what we asked, and what, I believe, Mr. Murphy told the Court.

22                   And, so, we really would want to ask to, please, not

23       allow this to happen anymore.       Mr. Murphy likes to complain a

24       lot.    He likes to say that the Court is limiting his

25       cross-examination, but it's not.       It's well beyond the scope.
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 136 of 164      1089


 1       This direct examination lasted, if 40 minutes, on very limited

 2       subjects.    His went on for more than twice that on topics that

 3       had nothing to do with what happened in the direct.

 4                    So, we would request that the Court not allow that to

 5       happen anymore with our witnesses.        It's really going to extend

 6       the time that the government's case is going to take, and it

 7       doesn't have to take that long.

 8                    THE COURT:   I do believe this cross-examination was

 9       not consistent with what I was told the defendant's approach to

10       this witness was going to be before we put him on the stand,

11       and when we were making decisions about how to proceed.

12                    I also think that there were several times when I

13       made rulings from the bench limiting where we were going, and

14       counsel went back and did something that was contrary to what I

15       said.   And as I've said earlier, you're absolutely entitled to

16       make your record, to note your objection to my rulings, but

17       that doesn't mean that you get to go back to the lectern and do

18       it anyway.

19                    And anyone that the defense wants to put on as their

20       witness, defense has an opportunity to put on as their witness.

21       And they can ask non-leading, open-ended questions, and the

22       government can cross-examine them.        They can produce Jencks

23       materials.    They can do all the things that they would have to

24       do if they called those witnesses in their case.

25                    And we accommodated the defense last week with
     Case 1:19-cr-00125-ABJ Document 138 Filed 09/10/19 Page 137 of 164        1090


 1       Mr. Haskell, even though I don't believe there was any

 2       particular scheduling reason to do so.        And I thought it was

 3       awkward and cumbersome, and it produced many unnecessary bench

 4       conferences and arguments about whether we were inside the

 5       scope or outside the scope, and it -- I announced I was very

 6       disinclined to do it again.

 7                    And, so, this morning I was told that we weren't

 8       going to do it again.      And, so, if other witnesses testify from

 9       whom the defense wishes to elicit information that is outside

10       the scope of the direct, the defense can call those witnesses.

11       And I think I've made that very clear.

12                    I understand the government's frustration.          I don't

13       believe there's any particular sanction to be imposed at this

14       time.   But, I think we're all alert to the issue, and I think

15       I've said a lot at the bench about this.         And as I said, I have

16       no problem with vigorous arguments.        I have no problem with you

17       telling me I'm wrong.      But, after I've heard you, if I overrule

18       you, then we have to go on, and you don't get to ignore what I

19       just said.

20                    So, if because of Mr. Hawker's unavailability to the

21       defense and the government's agreement last week and the

22       logistical problems with bringing him back, if he is going to

23       testify as a defense witness after the direct and cross are

24       over, then what you want to bring out then, you'll bring out

25       then.
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 1                  If there's any Jencks related to that, you need to

 2       produce it.    If there's any Jencks related to Mr. Haskell, who

 3       has been put on as a witness in your case that you haven't

 4       produced, you need to produce it.

 5                  And I think that's where we are right now.

 6                  MR. CAMPOAMOR-SANCHEZ:          Thank you, Your Honor.

 7                  THE COURT:    All righty.       Thank you.

 8                  We'll probably resume more like 2 than quarter of, at

 9       this point.

10                  (Recess.)

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 1

 2                    CERTIFICATE OF OFFICIAL COURT REPORTER

 3

 4

 5                 I, JANICE DICKMAN, do hereby certify that the above

 6       and foregoing constitutes a true and accurate transcript of my

 7       stenograph notes and is a full, true and complete transcript of

 8       the proceedings to the best of my ability.

 9                             Dated this 19th day of August, 2019.

10

11

12                                   /s/________________________

13                                   Janice E. Dickman, CRR, RMR, CRC
                                     Official Court Reporter
14                                   Room 6523
                                     333 Constitution Avenue NW
15                                   Washington, D.C. 20001

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